           Case 20-60681-jwc                      Doc 10         Filed 01/28/20 Entered 01/28/20 15:13:30                            Desc Main
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 Fill in this information to identify your case:


 Debtor 1          John Joseph Oliga
                       First Name               Middle Name              Last Name

 Debtor 2              Jeanine Barker Oliga                                                                 JAII 28 r-1
 (Spouse. if filing) First Name                 Middle Name              Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number             20-60681-JWC
  (If known)                                                                                                                          Check if this is an
                                                                                                                                      amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                 4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?

      El Married
      U Not married


' 2. During the last 3 years, have you lived anywhere other than where you live now?

     El No
           Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                            Dates Debtor 1   Debtor 2:                                          Dates Debtor 2
                                                                    lived there                                                         lived there


                                                                                     0   Same as Debtor 1                              El Same as Debtor I
                                                                    From                                                                   From
               Number               Street                                               Number Street
                                                                    To                                                                     To




               City                           State ZIP Code                             City                     State ZIP Code

                                                                                     D Same as Debtor 1                                El Same as Debtor I
                                                                    From                                                                   From
               Number               Street                                               Number Street
                                                                    To                                                                     To




                City                          State ZIP Code                             City                     State   ZIP Code


, 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      El No
      U Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




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Debtor 1        John Joseph Oliga                                                                    Case number („known) 20-60681-JWC
                First Name      Middle Name      Last Name


  Part 2: Explain the Sources of Your Income


 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     U     No
     El Yes. Fill in the details.
                                                                                                                         n'ZT!


                                                        Sources of income            Gross income             Sources of income            Gross income
                                                        Check all that apply.        (before deductions and   Check all that apply.        (before deductions and
                                                                                     exclusions)                                           exclusions)

                                                        121 Wages, commissions,                               0     Wages, commissions,
           From January 1 of current year until                                      $ 6,817.60                                            $ 3,470.00
                                                            bonuses, tips                                           bonuses, tips
           the date you filed for bankruptcy:
                                                        0 Operating a business                                0     Operating a business

                                                        121 Wages, commissions,                               El Wages, commissions,
           For last calendar year:
                                                            bonuses, tips             $ 191,671.00               bonuses, tips             $52,000.00
           (January 1 to December 31, 2019              0 Operating a business                                0 Operating a business
                                     YYYY

                                                        121 Wages, commissions,                               121 Wages, commissions,
            For the calendar year before that:
                                                            bonuses, tips                                         bonuses, tips
                                                                                      $ 198,115.00                                         $ 55,536.00
           (January 1 to December 31, 2018              0 Operating a business                                0 Operating a business
                                     YYYY


  5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     El No
     0     Yes. Fill in the details.



                                              Sources of income             Gross income from                     Sources of Income        Gross income from
                                                                            each source                           Describe below.          each source
                                              Describe below.
                                                                            (before deductions and                                         (before deductions and
                                                                            exclusions)                                                    exclusions)



 From January 1 of current
 year until the date you
 filed for bankruptcy:




 For last calendar year:

 (January 1 to
 December 31,



 For the calendar year

 before that:

 (January Ito
 December 31,




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Debtor 1       John Joseph Oliga                                                                        Case number (if known) 20-60681-JWC
               First Name          Middle Name              Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               0 No. Go to line 7.
               El Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                  the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                  as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     0 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

               El Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                               creditor. Do not include payments for domestic support obligations, such as child support and
                               alimony. Also, do not include payments to an attomey for this bankruptcy case.


                                                                             Dates of     Total amount paid        Amount you still owe       Was this payment for...
                                                                             payment


                       Bankers Healthcare Group, LLC                         12/02/201E    $ 7,572.09             $ 119,198.31                0   Mortgage
                       Creditor's Name
                                                                                                                                              0 Car
                        10234W. State Rd 84                                  11/02/201E
                                                                                                                                              0 Credit card
                        Number      Street

                                                                             10/02/201c
                                                                                                                                              El Loan repayment
                                                                                                                                              0 Suppliers or vendors
                        Fort Lauderdale          FL             33324                                                                         El Other
                        City                     State            ZIP Code




                                                                                                                                              0   Mortgage
                        Creditor's Name
                                                                                                                                              0 Car
                        Number      Street
                                                                                                                                              0 Credit card
                                                                                                                                              0 Loan repayment
                                                                                                                                              0 Suppliers or vendors
                                                                                                                                              0 Other
                        City                     State            ZIP Code




                                                                                                                                              0 Mortgage
                        Creditor's Name
                                                                                                                                              0 Car
                        Number      Street
                                                                                                                                              0 Credit card
                                                                                                                                              0 Loan repayment
                                                                                                                                              0 Suppliers or vendors
                                                                                                                                              0 Other
                            City                 State            ZIP Code




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Debtor 1           John Joseph Oliga                                                                 Case number (ifknown)2°-60681-JWC
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

     IZI No
     0 Yes. List all payments to an insider.
                                                                        Dates of      Total amount     Amount you still    Reason for this payment
                                                                        payment       paid             owe



            Insider's Name



            Number        Street




            City                                 State   ZIP Code




            Insider's Name


            Number        Street




            City                                 State   ZIP Code



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
     0 Yes. List all payments that benefited an insider.
                                                                        Dates of      Total amount     Amount you still    Reason for this payment
                                                                        payment       paid             owe                 Include creditor's name



            Insider's Name



            Number        Street




            City                                 State   ZIP Code




            Insider's Name



            Number        Street




            City                                 State   ZIP Code




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Debtor 1          John Joseph Oliga                                                                                Case number (iiknown)20-60681-JWC
                  First Name            Middle Name           Last Name



  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

           No
     •     Yes. Fill in the details.
                                                                     Nature of the case                      Court or agency                             Status of the case

    Case title:
                                                                                                           Court Name
                                                                                                                                                         0 Pending
                                                                                                                                                             On appeal

                                                                                                           Number     Street                             0   Concluded


                                                                                                           City                    State   ZIP Code
    Case number


                                                                                                                                                         0   Pending
                                                                                                            Court Name
    Case title:
                                                                                                                                                             On appeal

                                                                                                            Number    Street                             0   Concluded


                                                                                                            City                   State   ZIP Code
    Case number

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     O     No. Go to line 11.
     U Yes. Fill in the information below.

                                                                               Describe the property                                        Date       Value of the property




                   Creditor's Name


                   Number      Street                                          Explain what happened

                                                                               0       Property was repossessed.
                                                                               0       Property was foreclosed.
                                                                               O       Property was garnished.

                   City                               State   ZIP Code             0   Property was attached, seized, or levied.

                                                                               Describe the property                                        Date        Value of the property




                   Creditor's Name


                   Number      Street
                                                                               Explain what happened

                                                                               El      Property was repossessed.
                                                                               0       Property was foreclosed.
                                                                               ▪       Property was garnished.
                   City                               State   ZIP Code
                                                                               0       Property was attached, seized, or levied.




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Debtor 1          John Joseph Oliga                                                                      Case number (if known) 20-60681-JWC
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?

           No
     O Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action        Amount
                                                                                                                               was taken
           Creditor's Name



           Number      Street




           City                           State   ZIP Code       Last 4 digits of account number: XXXX-


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?

     El No
     U     Yes


1 Part 5:         List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     ▪     No
     O     Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                             Dates you gave
            per person                                                                                                          the gifts




           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600            Describe the gifts                                             Dates you gave      Value
           per person                                                                                                           the gifts



           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


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Debtor 1          John Joseph Oliga                                                                         Case number (if known) 20-60681-JWC
                  First Name  Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     1:1 No
     El Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities               Describe what you contributed                                         Date you
            that total more than $600                                                                                               contributed

                                                             Monthly donation of $25.00

           American Cancer Society                                                                                                  01/01/201,c         $ 300.00
           Charity's Name

           P.O. Box 22478                                                                                                           01/02/201E          $ 300.00



           Number     Street


           Oklahoma City                 OK 73123
           City         State       ZIP Code




  Part 6:           List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ONo
     0     Yes. Fill in the details.


             Describe the property you lost and how                Describe any insurance coverage for the loss                     Date of your loss   Value of property
             the loss occurred                                                                                                                          lost
                                                               Include the amount that insurance has paid. List pending insurance
                                                               claims on line 33 of Schedule A/B: Property.




  Part 7:         List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
      consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
     LI    Yes. Fill in the details.

                                                                   Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                    transfer was made
             Person Who Was Paid


             Number     Street




             City                       State   ZIP Code


             Email or website address

             Person Who Made the Payment, if Not You


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Debtor 1           John Joseph Oliga                                                                          Case number (if known) 20-60681-JWC
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                    transfer was made      payment


           Person Who Was Paid


           Number        Street




           City                         State    ZIP Code




           Email or website address


           Person Who Made the Payment, if Not You


  17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     El No
     0 Yes. Fill in the details.
                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made

            Person Who Was Paid


            Number        Street




            City                         State   ZIP Code

  18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     El No
     0 Yes. Fill in the details.
                                                                    Description and value of property         Describe any property or payments received     Date transfer
                                                                    transferred                               or debts paid in exchange                      was made

            Person Who Received Transfer


            Number        Street




            City                        State    ZIP Code


            Person's relationship to you


            Person Who Received Transfer


            Number        Street




            City                         State   ZIP Code

            Person's relationship to you

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Debtor 1           John Joseph Oliga                                                                      Case number (iiknown) 20-60681-JWC
                   First Name  Middle Name               Lae Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     ▪       No
     ▪       Yes. Fill in the details.

                                                                Description and value of the property transferred                                          Date transfer
                                                                                                                                                           was made


             Name of trust




  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
         brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

     El No
         U   Yes. Fill in the details.

                                                                    Last 4 digits of account number   Type of account or          Date account was       Last balance before
                                                                                                      Instrument                  closed, sold, moved,   closing or transfer
                                                                                                                                  or transferred


               Name of Financial Institution
                                                                                                      OChecking

                                                                                                      El savings
               Number Street
                                                                                                      El Money market

                                                                                                      E1Brokerage
               City                       State   ZIP Code                                            ElOther


                                                                                                      El Checking
               Name of Financial Institution
                                                                                                      [=1savings

               Number Street                                                                          DMoney market
                                                                                                      I:Brokerage

                                                                                                      El Other
               City                       State   ZIP Code

  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
         securities, cash, or other valuables?
     1:1 No
         U   Yes. Fill in the details.
                                                                    Who else had access to it?                      Describe the contents                       Do you still
                                                                                                                                                                have it?

                                                                                                                                                                El No
               Name of Financial Institution                                                                                                                    El Yes
                                                                    Name


               Number Street                                        Number Street


                                                                    City      State     ZIP Code
               City                       State   ZIP Code


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Debtor 1           John Joseph Oliga                                                                                   Case number („knowrs   20-60681-JWC
                   First Name      Middle Name              Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
      El No
      CI Yes. Fill in the details.
                                                                   Who else has or had access to it?                         Describe the contents                   Do you still
                                                                                                                                                                     have it?

                                                                                                                                                                     EINo
            Name of Storage Facility                                Name                                                                                             EiYes
            Number        Street                                    Number    Street



                                                                    CityState ZIP Code


            City                        State    ZIP Code



  Part 9:            Identify Property You Hold or Control for Someone Else

  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
       or hold in trust for someone.
       El No
       El Yes. Fill in the details.
                                                                   Where is the property?                                    Describe the property               Value



            Owner's Name


                                                                  Number     Street
            Number        Street




                                                                  City                           State      ZIP Code
            City                        State     ZIP Code


  Part 10:            Give Details About Environmental Information

  For the purpose of Part 10, the following definitions apply:
  •    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  •    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
       it or used to own, operate, or utilize it, including disposal sites.

  •    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


       Ej No
           Yes. Fill in the details.

                                                                   Governmental unit                             Environmental law, if you know it               Date of notice




           Name of site                                            Governmental unit


           Number        Street                                    Number    Street


                                                                   City                  State   ZIP Code



           City                        State     ZIP Code




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Debtor 1           John Joseph Oliga                                                                         Case number (if   nowis
                                                                                                                                       20-60681-JWC
                   First Name  Middle Name           Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     IZI No
     O Yes. Fill in the details.
                                                            Governmental unit                            Environmental law, if you know it                      Date of notice

                                                                                                    I
                                                                                                    1-

            Name of site                                   Governmental unit

            Number Street                                  Number Street


                                                           City                  State ZIP Code

            City                     State    ZIP Code


  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     IZI No
     O Yes. Fill in the details.
                                                                                                                                                                 Status of the
                                                                 Court or agency                              Nature of the case
                                                                                                                                                                 case

           Case title
                                                                                                                                                                     Pending
                                                                 Court Name
                                                                                                                                                                 El On appeal

                                                                 Number Street                                                                                   El Concluded


           Case number
                                                                 City                 State   ZIP Code


  Part 1 1 :          Give Details About Your Business or Connections to Any Business

  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           O     A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           O     A member of a limited liability company (LLC) or limited liability partnership (LLP)
           1:1 A partner in a partnership
           O     An officer, director, or managing executive of a corporation

           O     An owner of at least 5% of the voting or equity securities of a corporation

      O No. None of the above applies. Go to Part 12.
     0     Yes. Check all that apply above and fill in the details below for each business.
                                                                 Describe the nature of the business                           Employer Identification number
               J & J OLIGA INVESTORS, LLC
                                                                                                                               Do not include Social Security number or !TIN.
               Business Name                                 Purchase real estate, renovate and sell

               265 Stoneleigh Dr SW                                                                                            EIN:           —
               Number Street
                                                                                                                               Dates business existed

                                                              Name of accountant or bookkeeper
                                                             John J. Oliga                                                     From      12/06/2016         To 10/02/2019
               Atlanta                GA       30331
               City                   State   ZIP Code
                                                                 Describe the nature of the business                           Employer Identification number
                                                                                                                               Do not include Social Security number or 17IN.
               Business Name

                                                                                                                               EIN:
               Number Street
                                                                                                                               Dates business existed

                                                                 Name of accountant or bookkeeper
                                                                                                                               From                             To
               City                   State   ZIP Code

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Debtor 1            John Joseph Oliga                                                                    Case number (if known) 20-60681-JWC
                    First Name  Middle Name           Last Name



                                                              Describe the nature of the business                      Employer Identification number
                                                                                                                       Do not include Social Security number or !TIN.
             Business Name
                                                                                                                       EIN:

             Number Street                                                                                             Dates business existed



                                                                  Name of accountant or bookkeeper                     From                     To
             City                     State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     El No
     I:I Yes. Fill in the details below.

                                                                  Date issued




             Name                                                 MM / DD / YYYY


             Number Street




             City                      State   ZIP Code




  Part 1 2 :         Sign Below


       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       In connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.




       X     /s/ John Joseph Oliga                                                            Barker Oliga
             Signature of Debtor 1                                                         of Debtor 2


             Date 01/25/2020                                                       Date 01/25/2020

       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       1:1     No
       El Yes



       Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

       El No
       U Yes. Name of person                                                                                    Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                 Declaration, and Signature (Official Form 119).




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               John Joseph Oliga & Jeanine Barker Oliga                                                         20-60681-JWC
 Debtor 1                                                                               Case number (ifknow.)
              First Name   Middle Name     Last Name



                                               Continuation Sheet for Official Form 107
14) Charity gifts

Charity's Name:

Howard University Medical Alumni Association

1615 M Street, 2nd Floor

Washington, DC 20036

Describe what you contributed:: Monthly donation of $56.00

Date you contributed: 01/01/2019 Value: $672.00

Date you contributed: 01/01/2018 Value: $672.00



Charity's Name:

Morehouse School of Medicine

720 Westview Drive

Atlanta, GA 30310

Describe what you contributed:: Donation

Date you contributed: 01/01/2019 Value: $1,200.00

Date you contributed: 01/01/2018 Value: $1,200.00



Charity's Name:

St. Anthony of Padua Catholic Church

928 ralph David Abernathy Blvd

Atlanta, GA 30310

Describe what you contributed:: Monthly tithes of $200.00

Date you contributed: 01/01/2019 Value: $2,400.00

Date you contributed: 01/01/2018 Value: $2,400.00



Charity's Name:

Word of Faith Family Worship Catheral

212 Riverside Pkwy

Austell, GA 30168

Describe what you contributed:: Monthly Tithes of $250.00




   Official Form 107                            Statement of Financial Affairs for Individuals
            Case 20-60681-jwc            Doc 10         Filed 01/28/20 Entered 01/28/20 15:13:30                              Desc Main
                                                       Document      Page 14 of 61
               John Joseph Oliga & Jeanine Barker Oliga                                                        20-60681-JWC
 Debtor 1                                                                              Case number (ifknown)
              First Name   Middle Name     Last Name



                                               Continuation SheetforOfficial Form 107
Date you contributed: 01/01/2019 Value: $3,000.00

Date you contributed: 01/01/2018 Value: $3,000.00




   Official Form 107                           Statement of Financial Affairs for Individuals
             Case 20-60681-jwc                        Doc 10Filed 01/28/20 Entered 01/28/20 15:13:30                                        Desc Main
                                                         Document
Fill in this information to identify your case and this filing:
                                                                         Page 15 of 61

Debtor 1            John Joseph Oliga
                    First Name                  Middle Name               Last Name

Debtor 2             Jeanine Barker Oliga
(Spouse, if filing) First Name                  Middle Name               Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number            20-60681-JWC
                                                                                                                                            El Check if this is an
                                                                                                                                                amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:       Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an interest In
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   CI No. Go to Part 2.
   El Yes. Where is the property?                                    What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                              El Single-family home                                    the amount of any secured claims on Schedule D:
             Hilton Grand Vacations             Club at Trump                                                          Creditors Who Have Claims Secured by Property:
     1.1.                                                           Li Duplex or multi-unit building
             Street address, if available, or other description
                                                                         Condominium or cooperative                    Current value of the Current value of the
                                                                                                                       entire property?     portion you own?
                                                                    El Manufactured or mobile home
                                                                    El Land                                            $ Unknown                $ Unknown
                                                                    El Investment property                             Describe the nature of your ownership
             Las Vegas                        NV
                                                                     El Timeshare                                      interest (such as fee simple, tenancy by
             City                            State      ZIP Code
                                                                    El Other                                           the entireties, or a life estate), if known.
                                                                                                                       Other
                                                                     Who has an interest in the property? Check one.
                                                                     ciDebtor 1 only                                   0   Check if this is community property

             County                                                 ElDebtor 2 only
                                                                     ZIDebtor 1 and Debtor 2 only
                                                                     El At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:




    If you own or have more than one, list here:                    What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    1=1 Single-family home                             the amount of any secured claims on Schedule D:
      1.2.   265 Stoneleigh Dr SW                                   1=1 Duplex or multi-unit building                  Creditors Who Have Claims Secured by Property
              Street address, if available, or other description
                                                                    1:1Condominium or cooperative                      Current value of the      Current value of the
                                                                    1=1 Manufactured or mobile home                    entire property?          portion you own?
                                                                    0   Land                                           $ 251,600.00              $ 251,600.00
                                                                    11Investment property
             Atlanta                         GA         30331-7E
              City                            State      ZIP Code
                                                                    0 Timeshare                                        Describe the nature of your ownership
                                                                    1=1 Other                                          interest (such as fee simple, tenancy by
                                                                                                                       the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                                                                       Fee simple
                                                                    ElDebtor 1 only
             Fulton County
              County
                                                                    ElDebtor 2 only
                                                                    1=1Debtor 1 and Debtor 2 only                      DCheck if this is community property
                                                                    1=1At least one of the debtors and another             (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:




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                                                                 What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                 El Single-family home                              the amount of any secured claims on Schedule D:
                                                                                                                    Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description    CI Duplex or multi-unit building                                                            _
                                                                 El Condominium or cooperative                      Current value of the Current value of the 1
                                                                                                                    entire property?          portion you own?      '
                                                                 0 Manufactured or mobile home
                                                                 0 Land
                                                                 0 Investment property
                                                      ZIP Code                                                      Describe the nature of your ownership
           City                            State                 El Timeshare
                                                                                                                    Interest (such as fee simple, tenancy by
                                                                 0 Other                                            the entireties, or a life estate), if known.

                                                                 Who has an Interest in the property? Check one.
                                                                 0 Debtor 1 only
           County
                                                                 0 Debtor 2 only
                                                                 ElDebtor 1 and Debtor 2 only                          Check if this is community property
                                                                                                                       (see instructions)
                                                                 ElAt least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                          $ 251,600.00
   you have attached for Part 1. Write that number here.                                                                              4

Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   CI No
       Yes


    3.1.   Make:     Mercedes                                    Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
                                                                                                                    the amount of any secured claims on Schedule D:
           Model:    E350                                        IZIDebtor 1 only                                   Creditors Who Have Claims Secured by Property.

           Year:                         2012                    0 Debtor 2 only
                                                                                                                    Current value of the     Current value of the
                                                                 ID Debtor 1 and Debtor 2 only
                                         176000                                                                     entire property?         portion you own?
           Approximate mileage:                                  El At least one of the debtors and another
         Other information:
                                                                                                                    $ 7,741.00               $ 7,741.00
   Condition: Good                                                OCheck if this is community property (see
                                                                    instructions)




   If you own or have more than one, describe here:

           Make:                                                  Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
    3.2.
                                                                                                                    the amount of any secured claims on Schedule D:
           Model:
                                                                 0 Debtor 1 only                                    Creditors Who Have Claims Secured by Property.

           Year:
                                                                 0 Debtor 2 only
                                                                 0 Debtor 1 and Debtor 2 only                       Current value of the
                                                                                                                    entire property?
                                                                                                                                              Current value of the
                                                                                                                                              portion you own?
           Approximate mileage:                                      At least one of the debtors and another
           Other information:
                                                                  OCheck if this is community property (see
                                                                    instructions)




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                                                      Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
           Make:                                                                                         the amount of any secured claims on Schedule D:
                                                         Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
           Model:
                                                         Debtor 2 only
           Year:                                                                                         Current value of the      Current value of the ;
                                                         Debtor 1 and Debtor 2 only
                                                                                                         entire property?          portion you own?
           Approximate mileage:                          At least one of the debtors and another
           Other information:
                                                         I Check if this is community property (see
                                                           instructions)




                                                      Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
           Make:                                                                                          the amount of any secured claims on Schedule D:
                                                         Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
           Model:
                                                         Debtor 2 only
           Year:                                                                                          Current value of the     Current value of the
                                                         Debtor 1 and Debtor 2 only
                                                                                                          entire property?         portion you own? ,
           Approximate mileage:                           At least one of the debtors and another
           Other information:
                                                          Check if this is community property (see
                                                          instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       No
       Yes


                                                      Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
    4.1.   Make:
                                                                                                          the amount of any secured claims on Schedule D:
                                                          Debtor 1 only                                   Creditors Who Have Claims Secured by Properly.
           Model:
                                                      P1 Debtor 2 only
           Year:
                                                          Debtor 1 and Debtor 2 only                      Current value of the      Current value of the
           Other information:                             At least one of the debtors and another         entire property?          portion you own?


                                                          Check if this is community property (see
                                                          instructions)




   If you own or have more than one, list here:
                                                       Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
    4.2.   Make:
                                                                                                          the amount of any secured claims on Schedule D:
                                                          Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
            Model:
                                                          Debtor 2 only
            Year:                                                                                         Current value of the         Current value of the
                                                          Debtor 1 and Debtor 2 only                                                   portion you own?
                                                                                                          entire property?
            Other information:                            At least one of the debtors and another


                                                          Check if this is community property (see
                                                          instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                $    7,741.00
   you have attached for Part 2. Write that number here                                                                      4




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gis        Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                              Current value of the
                                                                                                                              portion you own?
                                                                                                                              Do not deduct secured claims
6. Household goods and furnishings                                                                                            or exemptions.
   Examples: Major appliances, furniture, linens, china, kitchenware
                          Kitchen appliances, Ir set, dining rm set, Ir set, sofa, 2 chairs, 3 bdrnn sets
   1=1 No
   O Yes. Describe.
                                                                                                                                    4000.00
                                                                                                                                $    '

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; e ectronic devices including cell phones, cameras, media players, games
   O No                     3 tvs, 2 computers, 2 cell phones, printer
   MYes. Describe.
                                                                                                                                $'
                                                                                                                                 1 000" 00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   O No
   O Yes. Describe                                                                                                              $ 0.00

9. Equipment for sports and hobbles
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   0 No
   O Yes. Describe.                                                                                                             $ 0 '00

10. Firearms
    Examples: Pistols, rifles shotguns, ammunition, and related equipment
    O No
    O Yes. Describe.                                                                                                            $ 0.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    O No                   Suits, dresses, shoes, blouses, coats, sweaters
                                                                                                                                     2000.00
    O Yes. Describe                                                                                                              $       '

 12.Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
    O No                      wedding rings, gold chain, watches, everyday jewelry
    M Yes. Describe.                                                                                                            $ 1,000•00

 13.Non-farm animals
    Examples: Dogs, cats, birds, horses

    M No
                                                                                                                                 $•
                                                                                                                                  0 00
    O Yes. Describe.


 14. Any other personal and household items you did not already list, including any health aids you did not list

    M No
    O Yes. Give specific                                                                                                             0.00
      information

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                      8,000•00
     for Part 3. Write that number here                                                                                   4

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Part 4:     Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do riot deduct secured claims
                                                                                                                                   or exemptions.

16.Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   El No
   El Yes                                                                                                   Cash:                   $ 500.00



17.Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   El No
   El Yes                           Institution name:


   17.1. Checking account:          Bank of America                                                                                  $ 9,700.00
   17.2. Checking account:          Bank of America                                                                                  $ 132.35
   17.3. Savings account:

   17.4. Savings account:

   17.5. Certificates of deposit:

   17.6. Other financial account: Bank of America                                                                                    $ 823.86
   17.7. Other financial account:

   17.8. Other financial account:

   17.9. Other financial account:




18.Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   El No
   El Yes
   Institution or issuer name:




19.Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
       No
   0 Yes. Give specific
      information about
      them
  Name of entity:                                                                                     % of ownership:




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; 20. Government and corporate bonds and other negotiable and non-negotiable instruments
     Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
     Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     El No
     MYes. Give specific
        information about
        them.
     Issuer name:




  21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

            No
     El Yes. List each
        account separately.       Institution name:
        Type of account:

   401(k) or similar plan:

   Pension plan:

   IRA:                      SEP IRA                                                                                                $ 13,142.91

   Retirement account:       457(6)                                                                                                 $ 23,956.00

   Keogh:

    Additional account:      403(6)                                                                                                 $ 36,563•00

    Additional account:      Sep IRA                                                                                                $ 4 027' 82


  22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
      companies, or others

      M No
      M Yes                           Institution name or individual:

  Electric:

  Gas:

   Heating oil:

   Rental unit:

   Prepaid rent:

 • Telephone:                                                                                                                       $

: Water:

   Rented furniture:

   Other:



   23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       M No
       El Yes                         Issuer name and description:




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 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
         No
    0    Yes                         Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
     exercisable for your benefit

         No
    0    Yes. Give specific
                                                                                                                                           $   0.00
         information about them...


 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    El No
    O Yes. Give specific
      information about them...                                                                                                            $   0.00

 27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

    IZI No
    O Yes. Give specific
      information about them...                                                                                                            $   0.00

 Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

 28. Tax refunds owed to you
    El No
    0    Yes. Give specific information                                                                         Federal:               $   0.00
              about them, including whether
              you already filed the returns                                                                     State:                 $   0.00
              and the tax years.                                                                                                       $   0.00
                                                                                                                Local:


 29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    1Z1 No
     El Yes. Give specific information.                                                                                                    $   0.00
                                                                                                                Alimony:
                                                                                                                Maintenance:               $ 0.00
                                                                                                                Support:                   $  0.00
                                                                                                                Divorce settlement:        $ 0.00
                                                                                                                Property settlement:       $ 0.00

' 30. Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                Social Security benefits; unpaid loans you made to someone else
     El No
     0   Yes. Give specific information.
                                                                                                                                           $   0.00

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 31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
     El No
     El Yes. Name the insurance company                Company name:                                         Beneficiary:                             Surrender or refund value:
               of each policy and list its value....




' 32. Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
      property because someone has died.
     El No
     CI Yes. Give specific information.                                                                                                                $•
                                                                                                                                                        0 00


, 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
         No
     CI Yes. Describe each claim                                                                                                                       $-
                                                                                                                                                        0 00

; 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
      to set off claims
     El No
     CI Yes. Describe each claim                                                                                                                       $00
                                                                                                                                                        0•



  35. Any financial assets you did not already list
     12] No
     El Yes. Give specific information.                                                                                                                $00
                                                                                                                                                        0•


  36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
      for Part 4. Write that number here                                                                                                               $ 817,759• 94




  Part 5:      Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
     El No. Go to Part 6.
     CI Yes. Go to line 38.
                                                                                                                                                     Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                     or exemptions.

  38. Accounts receivable or commissions you already earned
     El No
     CI Yes. Describe
  39. Office equipment, furnishings, and supplies
      Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
     El No
     CI Yes. Describe


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 40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

         No
    0    Yes. Describe



 41.Inventory
        No
    0 Yes. Describe


 42. Interests in partnerships or joint ventures
       No
    El Yes. Describe           Name of entity:                                                          % of ownership:




 43.Customer lists, mailing lists, or other compilations
    C] No
   El Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                 No
              ID Yes. Describe



 44.Any business-related property you did not already list
    El No
    El Yes. Give specific
       information




 42.Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached            $   0.00
    for Part 5. Write that number here




 Part 6:      Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
              If you own or have an interest in farmland, list it in Part 1.


i 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
         No. Go to Part 7.
     0   Yes. Go to line 47.
                                                                                                                          Current value of the
                                                                                                                          portion you own?
                                                                                                                          Do not deduct secured claims
                                                                                                                          or exemptions.
  47. Farm animals
      Examples: Livestock, poultry, farm-raised fish
     El No
     El Yes




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 48.Crops—either growing or harvested
    0    No
    0    Yes. Give specific
         information.

 49.Farm and fishing equ'pment, implements, machinery, fixtures, and tools of trade
    El No
    0 Yes



 50.Farm and fishing supplies, chemicals, and feed
    El No
    El Yes



 51.Any farm- and commercial fishing-related property you did not already list
    0    No
    0    Yes. Give specific
         information.

 52.Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached               $ 0.00
    for Part 6. Write that number here



 Part 7:      Describe All Property You Own or Have an Interest in That You Did Not List Above

, 53. Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership

    0 No                          ToTdfa-Rig-h-falideTKEE
    M Yes. Give specific
      information.




 54. Add the dollar value of all of your entries from Part 7. Write that number here
                                                                                                                               $   11,343.00



  Part 8:     List the Totals of Each Part of this Form

  55.Part 1: Total real estate, line 2
                                                                                                                        4     $ 251,600.00


  56.Part 2: Total vehicles, line 5                                      $ 7,741.00


  57.Part 3: Total personal and household items, line 15                 $   8,000.00

  58.Part 4: Total financial assets, line 36                             $   817,759.94

  59.Part 5: Total business-related property, line 45                    $ 0.00


  60.Part 6: Total farm- and fishing-related property, line 52           $   0.00

  61.Part 7: Total other property not listed, line 54                +$ 11,343.00


  62.Total personal property. Add lines 56 through 61.                       844 843• 94                                     4.$ 844,843.94
                                                                         $                 'Copy personal property total 4



  63.Total of all property on Schedule A/B. Add line 55 + line 62                                                             $ 1 096   443-94



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  Debtor 1     John Joseph Oliqa & Jeanine Barker Oliqa                            Case number Of known)   20-60681-JWC
               First Name   Middle Name     Last Name



                                             Continuation SheetforOfficialForm 106A/B
21) Retirement or pension accounts

IRA Services Trust Co                                        $728,914.00




     Official Form 106A/B                                       Schedule A/B: Property
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 Fill in this information to identify your case:

                     John Joseph Oliga
 Debtor 1
                    First Name               Muddle Name                Last Name

 Debtor 2            Jeanine Barker Oliga
 (Spouse, if filing) First Name              Middle Name                Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
  (If known)
                      20-60681-JWC                                                                                                       El Check if this is an
                                                                                                                                              amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      IZI You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      0 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the             Amount of the                   Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own                  exemption you claim

                                                            Copy the value from              Check only one box
                                                            Schedule NB                      for each exemption
                  265 Stoneleigh Dr SW                                                                                       Ga. Code Ann. § 44-13-100 (a)(1)
  Brief                                                             $ 251,600.00       IZI$ 15,660.78
' description:
                                                                                       0100% of fair market value, up to
  Line from                                                                              any applicable statutory limit
, Schedule A/B: 1.2
               2012 Mercedes E350                                                                                            Ga. Code Ann. § 44-13-100 (a)(3)
  Brief                                                             $ 7,741.00         1Z1$ 7,741.00
  description:
                                                                                       El 100% of fair market value, up to
 Line from                                                                                any applicable statutory limit
 Schedule A/B:      31
              Household goods - Kitchen appliances, Ir set, dining                                                           Ga. Code Ann. § 44-13-100 (a)(4)
 Brief        rm set, Ir set, sofa, 2 chairs, 3 bdrm sets          $ 4,000.00          GD$    4,000.00
 description:
                                                                                       O any
                                                                                         100% of fair market value, up to
                                                                                             applicable statutory limit
 Line from
 Schedule A/B:            6

 3. Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

      El No
      El Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        CI No
        El Yes

Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                            page 1 of   3
           Case 20-60681-jwc                     Doc 10           Filed 01/28/20 Entered 01/28/20 15:13:30                                         Desc Main
                                                                 Document      Page 27 of 61
Debtor           John Joseph Oliga                                                                    Case number (if known)   20-60681-JWC
                First Name     Middle Name           Last Name




 Part 2:        Additional Page

         Brief description of the property and line                                               Amount of the                     Specific laws that allow exemption
                                                                          Current value of the    exemption you claim
         on Schedule A/B that lists this property                         portion you own
                                                                          Copy the value from     Check only one box
                                                                          Schedule A/B            for each exemption
               Electronics - 3 tvs, 2 computers, 2 cell phones, printer                                                                  Ga. Code Ann. § 44-13-100 (a)(6)
Brief                                                                     $1,000.00                  $ 1,000.00
description:
Line from
                                                                                                 El 100%  of fair market value, up to
                                                                                                    any applicable statutory limit
Schedule A/B:       7
             Clothing - Suits, dresses, shoes, blouses, coats,                                                                           Ga. Code Ann. § 44-13-100 (a)(4)
Brief        sweaters                                                     $2,000.00              El $ 2,000.00
description:
                                                                                                 0100% of fair market value, up to
                                                                                                   any applicable statutory limit
 Line from
 Schedule A/B:        11
   •          Jewelry - wedding rings, gold chain, watches, everyday                                                                     Ga. Code Ann. § 44-13-100 (a)(5)
 Brief        jewelry                                                $1,000.00                   1:1$ 1,000.00
 description:
                                                                                                 El 100% of fair market value, up to
 Line from                                                                                          any applicable statutory limit
 Schedule A/B:       12
              Cash (Cash On Hand)                                                                                                        Ga. Code Ann. § 44-13-100 (a)(6)
 Brief                                                                     $500.00               El $ 500.00
 description:
                                                                                                 El 100% of fair market value, up to
 Line from                                                                                          any applicable statutory limit
 Schedule A/B:       16
              Bank of America (Checking)                                                                                                 Ga. Code Ann. § 44-13-100 (a)(6)
 Brief                                                                     $9,700.00             1=1$ 9,700.00
 description:
                                                                                                 El 100% of fair market value, up to
                                                                                                    any applicable statutory limit
 Line from
 Schedule A/B:       17.1
              Bank of America (Checking)                                                                                                 Ga. Code Ann. § 44-13-100 (a)(6)
 Brief                                                                     $ 132.35              El $ 132.35
 description:
                                                                                                 El 100%  of fair market value, up to
                                                                                                    any applicable statutory limit
  Line from
  Schedule A/B:       17.2
               Bank of America (Checking)                                                                                                Ga. Code Ann. § 44-13-100 (a)(6)
' Brief
  description:
                                                                           $ 823.86
                                                                                                 I2I s  823.86

 Line from
                                                                                                 El 100%   of fair market value, up to
                                                                                                     any applicable statutory limit
 Schedule A/B:       17.6
              457(6)                                                                                                                     Ga. Code Ann. § 44-13-100
 Brief                                                                     $ 23,956.00           El $ 23,956.00                          (a)(2.1)(C), 44-13-100 (a)(2)(E)
 description:
                                                                                                 ID 100% of fair market value, up to
                                                                                                    any applicable statutory limit
 Line from
 Schedule NB:        21
              403(6)                                                                                                                     Ga. Code Ann. § 44-13-100
 Brief
 description:
                                                                           $36,563.00            E$      36,563.00                       (a)(2.1)(C), 44-13-100 (a)(2)(E)

                                                                                                  0100% of fair market value, up to
 Line from                                                                                          any applicable statutory limit
 Schedule A/B:      21
              SEP IRA                                                                                                                    Ga. Code Ann. § 44-13-100
 Brief
 description:
                                                                           $ 13,142.91           Els 13,142.91
 Line from
                                                                                                 0any
                                                                                                   100% of fair market value, up to
                                                                                                      applicable statutory limit
 Schedule NB:       21
              Sep IRA                                                                                                                    Ga. Code Ann. § 44-13-100
 Brief                                                                     $4,027.82                  $ 4,027.82
 description:
                                                                                                  p100%  of fair market value, up to
                                                                                                   any applicable statutory limit
 Line from
 Schedule A/B:      21
              IRA Services Trust Co                                                                                                      Ga. Code Ann. § 44-13-100
 Brief                                                                     $728,914.00                $ 728,914.00
 description:
                                                                                                  El100%  of fair market value, up to
                                                                                                    any applicable statutory limit
 Line from
 Schedule A/B:           21


   Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                  page   2    of _ 3
          Case 20-60681-jwc                   Doc 10           Filed 01/28/20 Entered 01/28/20 15:13:30                                   Desc Main
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Debtor            John Joseph Oliga                                                           Case number (if Mown)   20-60681-JW0
                 Fiat Name      Middle Name       Last Name




  Part 2:        Additional Page

         Brief description of the property and line                                       Amount of the                       Specific laws that allow exemption
                                                                  Current value of the    exemption you claim
         on Schedule A/B that lists this property                 portion you own
                                                                  Copy the value from     Check only one box
                                                                  Schedule A/B            for each exemption
                 2014 Toyota Highlander XLE                                                                                      Ga. Code Ann. § 44-13-100 (a)(3)
  Brief                                                            $11,343.00            Ds 5,511.82
, description:
 Line from
                                                                                         El 100%  of fair market value, up to
                                                                                            any applicable statutory limit
_Schedule A/B.          53
1 Brief
  description:                                                                           0$
                                                                                         0 100%  of fair market value, up to
                                                                                           any applicable statutory limit
 Line from
 Schedule A/B:

, Brief
  description:                                                                           0$
                                                                                         El 100% of fair market value, up to
 Line from                                                                                  any applicable statutory limit
 Schedule A/B:
 Brief
 description:                                                                            0$
                                                                                         El 100% of fair market value, up to
 Line from                                                                                  any applicable statutory limit
 Schedule A/B:
 Brief
 description:                                                                            0$
                                                                                         El 100% of fair market value, up to
 Line from                                                                                  any applicable statutory limit
 Schedule A/B:
 Brief
 description:                                                                            0$
                                                                                         El 100%  of fair market value, up to
                                                                                            any applicable statutory limit
 Line from
 Schedule A/B:
 Brief
 description:                                                                            0$
 Line from
                                                                                         0 any
                                                                                            100% of fair market value, up to
                                                                                               applicable statutory limit
 Schedule A/B:
 Brief
 description:                                                                            0$
                                                                                         El 100%  of fair market value, up to
                                                                                            any applicable statutory limit
 Line from
 Schedule A/B:
 Brief
 description:                                                                            0$
                                                                                         0 100% of fair market value, up to
 Line from                                                                                   any applicable statutory limit
 Schedule NB:
' Brief
  description:                                                                           0$
                                                                                              100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:
 Brief
 description:                                                                            0$
                                                                                         0 any
                                                                                           100% of fair market value, up to
                                                                                               applicable statutory limit
 Line from
 Schedule A/B:
 Brief
 description:                                                                            0$
                                                                                         Elany
                                                                                           100% of fair market value, up to
                                                                                               applicable statutory limit
, Line from
 Schedule A/B:


   Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                             page   L. of 3
              Case 20-60681-jwc                       Doc 10           Filed 01/28/20 Entered 01/28/20 15:13:30                                         Desc Main
                                                                      Document      Page 29 of 61

Fill in this information to identify your case:

                   John Joseph Oliga
Debtor 1
                   First Name                  Middle Name                    Last Name

Debtor 2           Jeanine Barker Oliga
(Spouse, if nog) First Name                    Middle Name                    Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number              20-60681-JWC
 (If known)                                                                                                                                            1=1Check if this is an
                                                                                                                                                          amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).


1. Do any creditors have claims secured by your property?
   0      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   in Yes. Fill in all of the information below.


Part 1:         List All Secured Claims
                                                                                                                                                                               ,
                                                                                                                        Column A               ;Column B                 Column C
                                                                                                                                                            r             -
3. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                            Value of collateral !, Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.             Do not deduct the       '1.that supports
                                                                                                                                                          •
                                                                                                                                                                  this 1' portion -
      As much as possible, list the claims in alphabetical order according to the creditor's name                       value of collateral.   1; claim                ' If any
                                                                                                                                                        •
2.1     Bank of America                                  Describe the property that secures the claim:                  $307,647.22              $   251,600.00      $   56,047.22
                                                         265 Stoneleigh Dr SW, Atlanta, GA 30331-7665 - $251,600.00
      Creditor's Name
       P. 0. Box 31785
      Number             Street


                                                         As of the date you file, the claim is: Check all that apply.
       Tampa                       FL      33631         O Contingent
      City                         State   ZIP Code      o Unliquidated
  Who owes the debt? Check one.                          O Disputed
  El     Debtor 1 only                                   Nature of lien. Check all that apply.
  1:1    Debtor 2 only                                   O An agreement you made (such as mortgage or secured
  IZ1    Debtor 1 and Debtor 2 only                        car loan)
  El     At least one of the debtors and another         O Statutory lien (such as tax lien, mechanic's lien)
                                                         O Judgment lien from a lawsuit
  o      Check if this claim relates to a
         community debt                                  O Other (including a right to offset)
  Date debt was incurred                                 Last 4 digits of account number
2.2 Bank of America                                      Describe the property that secures the claim:                  $5,831.18                $   11,343.00       $   0.00
                                                         2014 Toyota Highlander XLE -$11,343.00
       Creditor's Name
       P. 0. Box 45224
       Number            Street


                                                           of the date you file, the claim is: Check all that apply.
       Jacksonville                FL      32232         O Contingent
       City                        State   ZIP Code      o Unliquidated
  Who owes the debt? Check one.                          O Disputed
      Debtor 1 only                                          Nature of lien. Check all that apply.
  IZI Debtor 2 only
                                                         O An agreement you made (such as mortgage or secured
      Debtor 1 and Debtor 2 only                           car loan)
      At least one of the debtors and another            O Statutory lien (such as tax lien, mechanic's lien)
                                                         O Judgment lien from a lawsuit
      Check if this claim relates to a
      community debt                                     O Other (including a right to offset)
   Date debt was incurred                                    Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:                           $   313,478.40

      Official Form 106D                           Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
                 Case 20-60681-jwc                        Doc 10         Filed 01/28/20 Entered 01/28/20 15:13:30                                          Desc Main
                                                                        Document      Page 30 of 61

 Debtor 1           John Joseph Oliga                                                                         Case number (if known)    20-60681-JWC
                      Fast Name      Middle Name           Last Name


                                                                                                                            Column A               Column D       -      Column C
                   Additional Page
                                                                                                                            Amount of claim        Value of collateral   Unsecured'
Part 1:            After listing any entries on this page, number them beginning with 2.3, followed                                                that supports this    portion
                                                                                                                            Do not deduct tie
                   by 2.4, and so forth.                                                                                    value of collateral.   claim                 if any

2.3       Hilton Resorts Corp                               Describe the property that secures the claim:             $ 45,110.00              $ 0.00              $ 45,110.00
                                                           Hilton brand Vacations Glub at I rump International Hotel, Las
      Creditor's Name                                      Vegas, NV - $0.00
          6355 Metrowest Blvd
      Number            Street

          Ste 180
                                                            As of the date you file, the claim is: Check all that apply.
          Orlando                    FL       32835         0      Contingent
      City                           State    ZIP Code
                                                            El Unliquidated
   Who owes the debt? Check one.                            El Disputed
  CI Debtor 1 only                                          Nature of lien. Check all that apply.
  In Debtor 2 only
  IZI Debtor 1 and Debtor 2 only
                                                            0      An agreement you made (such as mortgage or secured
                                                                   car loan)
  CI        At least one of the debtors and another
                                                            El     Statutory lien (such as tax lien, mechanic's lien)

  0         Check if this claim relates to a                O Judgment lien from a lawsuit
            community debt                                  CI Other (including a right to offset)
   Date debt was incurred                                   Last 4 digits of account number


                                                            Describe the property that secures the claim:         $

          Creditor's Name


          Number            Street


                                                            As of the date you file, the claim is: Check all that apply.
                                                            O      Contingent
          City             State              ZIP Code      El Unliquidated
   Who owes the debt? Check one.
                                                            CI Disputed
   CI Debtor 1 only
                                                            Nature of lien. Check all that apply.
   0 Debtor 2 only
   El Debtor 1 and Debtor 2 only                            1= 1  An agreement you made (such as mortgage or secured
                                                            car loan)
   CI At least one of the debtors and another
                                                            O Statutory lien (such as tax lien, mechanic's lien)
   El Check if this claim relates to a                      CI     Judgment lien from a lawsuit
      community debt
                                                            CI     Other (including a right to offset)
   Date debt was incurred                                   Last 4 digits of account number


                                                            Describe the property that secures the claim:

          Creditor's Name


          Number            Street



                                                             As of the date you file, the claim is: Check all that apply.
          City                        State    ZIP Code     O      Contingent

      Who owes the debt? Check one.
                                                            El Unliquidated
                                                            CI Disputed
   CI Debtor 1 only
                                                             Nature of lien. Check all that apply.
   CI Debtor 2 only
   CI Debtor 1 and Debtor 2 only                            O       An agreement you made (such as mortgage or secured
                                                                    car loan)
   CI At least one of the debtors and another
                                                             CI     Statutory lien (such as tax lien, mechanic's lien)
      0      Check if this claim relates to a                       Judgment lien from a lawsuit
             community debt                                         Other (including a right to offset)
      Date debt was incurred                                 Last 4 digits of account number

                 Add the dollar value of your entries in Column A on this page. Write that number here: $ 45,110.00
                 If this is the last page of your form, add the dollar value totals from all pages.                          $ 358,588.40
                 Write that number here:

      Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2   of 2
             Case 20-60681-jwc                      Doc 10        Filed 01/28/20 Entered 01/28/20 15:13:30                                       Desc Main
                                                                 Document      Page 31 of 61
 Fill in this information to identify your case:

                      John Joseph Oliga
 Debtor 1
                      First Name                  Middle Name              Last Name

 Debtor 2             Jeanine Barker Oliga
 (Spouse, if filing) Rat Name                     Middle Name              Last Name


 United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                                                                    Check if this is an
 Case number            20-60681-JWC                                                                                                                amended filing
    (If known)



Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

Part 1:           List All of Your PRIORITY Unsecured Claims

1.    Do any creditors have priority unsecured claims against you?
      M No. Go to Part 2.
      ID Yes.
2     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
      each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
      nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
      unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total claim   Priority        Nonpriority
                                                                                                                                                amount          amount

                                                                   Last 4 digits of account number
         Priority Creditors Name
                                                                   When was the debt incurred?
         Number           Street
                                                                   As of the date you file, the claim is: Check all that apply.

                                          State     ZIP Code
                                                                  CI Contingent
         City
                                                                      Unliquidated
         Who incurred the debt? Check one.                        0   Disputed
         0 Debtor 1 only                                           Type of PRIORITY unsecured claim:
         0 Debtor 2 only                                           El Domestic support obligations
         0 Debtor 1 and Debtor 2 only                              0    Taxes and certain other debts you owe the government
         O At least one of the debtors and another                 0    Claims for death or personal injury while you were
         0      Check if this claim is for a community debt             intoxicated
                                                                   0    Other. Specify
         Is the claim subject to offset?
         O No


                                                                   Last 4 digits of account number
          Priority Creditors Name                                  When was the debt incurred?

          Number           Street                                  As of the date you file, the claim is: Check all that apply.
                                                                   CI Contingent
                                                                   El Unliquidated
          City                            State      ZIP Code
                                                                        Disputed
         Am incurred the debt? Check one.
         LI Debtor 1 only                                          Type of PRIORITY unsecured claim:
         0 Debtor 2 only                                              Domestic support obligations
            Debtor 1 and Debtor 2 only                             0    Taxes and certain other debts you owe the government
         0  At least one of the debtors and another                El Claims for death or personal injury while you were
         ▪       Check if this claim is for a community debt          intoxicated

          Is the claim subject to offset?
                                                                   0  Other. Specify

         I I  No
              Yes

 Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of j1
                Case 20-60681-jwc                     Doc 10              Filed 01/28/20 Entered 01/28/20 15:13:30 Desc Main
                       John Joseph Oliga
                                                                         Document      Page 32 of 61     20-60681-JWC
Debtor 1                                                                                                        Case number (if known)
                       First Name      Middle Name          Last Name

 Part 2:           List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
    0 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    0 Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim, If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

         American Express                                                                                                                                               Total claim

                                                                                        Last 4 digits of account number 1005
                                                                                                                                                                    $ 6,790.14
         Nonpnonty Creditor's Name
                                                                                        When was the debt incurred?               2017
         P. 0. Box 1270
         Number              Street

                                                                                        As of the date you file, the claim is: Check all that apply.
         Newark                                           NJ            07101           CI Contingent
         City                                             State          ZIP Code
                                                                                                Unliquidated
         Who incurred the debt? Check one.                                              CI Disputed
        El Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
        0       Debtor 2 only
                Debtor 1 and Debtor 2 only                                              O       Student loans
                                                                                        O       Obligations arising out of a separation agreement or divorce
        0 At least one of the debtors and another                                               that you did not report as priority claims
        ID Check if this claim is for a community debt                                  O       Debts to pension or profit-sharing plans, and other similar debts
                                                                                        El Other. Specify Credit Card        Debt
        Is the claim subject to offset?
        El No
        O Yes
4.2      American Express                                                               Last 4 digits of account number 1002                                        $ 2,001.74
                                                                                        When was the debt incurred?     7/2017
        Nonpnonty Creditor's Name
         P. 0. Box 1270
         Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.

                                                                                        O       Contingent
         Newark                                           NJ            07101
         City                                             Slate          ZIP Code
                                                                                        El Unliquidated
             to incurred the debt? Check one.                                           O       Disputed
        LI Debtor 1 only
                                                                                        Type of NONPRIORITY unsecured claim:
                Debtor 2 only
                                                                                        O       Student loans
         O      Debtor 1 and Debtor 2 only
                                                                                        O       Obligations arising out of a separation agreement or divorce
         O      At least one of the debtors and another                                         that you did not report as priority claims
                                                                                        •       Debts to pension or profit-sharing plans, and other similar debts
         0      Check if this claim is for a community debt
                                                                                        173 Other. Specify      Credit Card Debt
         Is the claim subject to offset?
         0      No
                  as
             merican Express
                                                                                        Last 4 digits of account number            3007                             $76,140.38
         Nonpriority Creditor's Name                                                    When was the debt incurred?                1993
         P.O. Box 1270
         Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.
          Newark                                          NJ            07101           CI Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                              El Unliquidated
                                                                                            O   Disputed
         IZI Debtor 1 only
         0      Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
         O      Debtor 1 and Debtor 2 only                                              El Student loans
         0      At least one of the debtors and another                                 O       Obligations arising out of a separation agreement or divorce
                                                                                                that you did not report as priority claims
         O Check if this claim is for a community debt                                  O       Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?                                                IZI Other. Specify      Credit Card Debt
         0      No
         0 Yes
      Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                           page 2 of 11
              Case 20-60681-jwc                       Doc 10         Filed 01/28/20 Entered 01/28/20 15:13:30 Desc Main
                        John Joseph Oliga
                                                                    Document      Page 33 of 61     20-60681-JWC
Debtor 1                                                                                                Case number (if known)
                        Furst Name      Middle Name     Last Name


Part 2:            List All of Your NON PRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
    D  No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    El Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim

E      Bankers Healthcare Corp
      Nonpriority Creditor's Name
                                                                                    Last 4 digits of account number 1895
                                                                                                                                                           $ 2,500.50

       P. 0. Box 306005                                                             When was the debt incurred?
      Number                 Street


                                                                                    As of the date you file, the claim is: Check all that apply.
       Nashville                                      TN            37230
      City                                            State         ZIP Code        1:=1 Contingent
                                                                                   El Unliquidated
      Who incurred the debt? Check one.
                                                                                    0   Disputed
      0   Debtor 1 only
                                                                                    Type of NONPRIOFSTY unsecured claim:
      IZI Debtor 2 only
                                                                                    0 Student loans
      0 Debtor 1 and Debtor 2 only
                                                                                    O Obligations arising out of a separation agreement or divorce
      0 At least one of the debtors and another                                        that you did not report as priority claims
                                                                                    0 Debts to pension or profit-sharing plans, and other similar debts
      O Check if this claim is for a community debt
                                                                                    IZ Other. Specify Credit Card Debt
       Is the claim subject to offset?
      El No
         Yes
      Bankers Healthcare Group LLC                                                  Last 4 digits of account number 4011                                   $ 17,264.77
                                                                                    When was the debt incurred?           2016
       Nonpnonty Creditor's Name
           P. 0. Box 306005
       Number                 Street
                                                                                    As of the date you file, the claim is: Check all that apply.

           Nashville                                  TN            37230           O Contingent
       City                                           State          ZIP Code       El Unliquidated
       Who incurred the debt? Check one.                                            0   Disputed
          Debtor 1 only
                                                                                    Type of NONPRIOFSTY unsecured claim:
       O Debtor 2 only
                                                                                    O Student loans
       El Debtor 1 and Debtor 2 only
                                                                                    0 Obligations arising out of a separation agreement or divorce
       0 At least one of the debtors and another                                       that you did not report as priority claims
       o Check if this claim is fora community debt                                 O Debts to pension or profit-sharing plans, and other similar debts
                                                                                    El Other. Specify Credit Card Debt
       Is the claim subject to offset?
      El No
       ▪      Yes

71          Bankers Healthcare Group LLC                                            Last 4 digits of account number 1256
                                                                                                                                                           $9,897.89
           Nonpnonty Creditor's Name                                                When was the debt incurred?
           P. 0. Box 306005
           Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.
           Nashville                                   TN           37230           0    Contingent
            ity                                        State         ZIP Code
           Who incurred the debt? Check one.                                        0    Unliquidated
                                                                                    0    Disputed
         Debtor 1 only
       O Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                 O Student loans
       O At least one of the debtors and another                                    O Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
       El Check if this claim is for a community debt                               0  Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              El Other. Specify Credit Card Debt
                  No
                  Yes


    Official Form 106E/F                                      Schedule EIF: Creditors Who Have Unsecured Claims                                                   page 3 of
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Debtor 1                                                                                               Case number (if known)
                   First Name   Middle Name            Last Name


glin              List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
      0 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      El Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim

E       Bankers Healthcare Group, LLC
       Nonpnonty Creditors Name
                                                                                  Last 4 digits of account number        9952                              $ 49,952.02
        10234 W. State Rd 84                                                      When was the debt incurred?            6/29/2017
       Number           Street

                                                                                  As of the date you file, the claim is: Check all that apply.
        Fort Lauderdale                             FL             33324
        City                                        State           ZIP Code      O    Contingent
                                                                                       Unliquidated
        Who incurred the debt? Check one.
                                                                                  O    Disputed
       El Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
       0     Debtor 2 only
                                                                                  CI Student loans
       0     Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
                                                                                  0
        O At least one of the debtors and another                                     that you did not report as priority claims

       o Check if this claim is for a community debt                              O Debts to pension or profit-sharing plans, and other similar debts
                                                                                  E l Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
             No
       0  Yes
47      Bankers Healthcare Group, LLC                                             Last 4 digits of account number        7647                              $ 119,198.31
        Nonpnonty Creditors Name
                                                                                  When was the debt incurred?            8/2017
        10234W. State Rd 84
        Number        Street
                                                                                  As of the date you file, the claim is: Check all that apply.

        Fort Lauderdale                             FL             33324          0    Contingent
        City                                        State           ZIP Code      O    Unliquidated
        Who incurred the debt? Check one.                                         0    Disputed
        O Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
        O Debtor 2 only
        El Debtor 1 and Debtor 2 only
                                                                                  El Student loans
        O At least one of the debtors and another
                                                                                  CI Obligations arising out of a separation agreement or divorce




r
                                                                                       that you did not report as priority claims
        0    Check if this claim is for a community debt                          O    Debts to pension or profit-sharing plans, and other similar debts
                                                                                  El   Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
             No
        o Yes
            Bankers Heathcare Group, LLC                                          Last 4 digits of account number        7057                              $149,326.06
        Nonpriority Creditors Name                                                When was the debt incurred?            12/06/2016
        10234 W. State Rd. 84
        Number    Street
                                                                                  As of the date you file, the claim is: Check all that apply.
         Davie                                       FL            33324          CI Contingent
        tity                                         State          ZIP Code
        Who incurred the debt? Check one.                                         El Unliquidated
        El Debtor 1 only
                                                                                  CI Disputed
        O Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
        CI Debtor 1 and Debtor 2 only                                             O    Student loans
        O At least one of the debtors and another                                 CI Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
        0    Check if this claim is for a community debt                          0   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                           IEI Other. Specify Monies Loaned / Advanced
        0    No
        0    Yes


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Debtor 1                                                                                             Case number (if known)
                   First Name   Middle Name           Last Name


WM             List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
    0 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    El Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                           Total claim
       Bank of America Business Advantage
                                                                                 Last 4 digits of account number 3603
       Nonprionty Creditor's Name                                                                                                                      $   7,980.16
        Business Card                                                            When was the debt incurred?
       Number     Street
        P.O. Box 15796
                                                                                 As of the date you file, the claim is: Check all that apply.
       Wilmington                                  DE             19886-5796
       City                                        State           ZIP Code      0 Contingent
                                                                                 •  Unliquidated
       Who incurred the debt? Check one.
                                                                                 O Disputed
       CI Debtor 1 only
                                                                                 Type of NONPRIORITY unsecured claim:
       O Debtor 2 only
                                                                                 O Student loans
       lZl Debtor 1 and Debtor 2 only                                            0 Obligations arising out of a separation agreement or divorce
       0 At least one of the debtors and another                                     that you did not report as priority claims
                                                                                 0 Debts to pension or profit-sharing plans, and other similar debts
       0     Check if this claim is for a community debt
                                                                                 IZI Other. Specify Credit Card Debt
       Is the claim subject to offset?
      El No
    •
      0 Yes
4.11 Bank of America Inc                                                         Last 4 digits of account number 8998                                  $   14,122.05
       Nonpnonty Creditor's Name
                                                                                 When was the debt incurred?           6/2017 - 8/'‘.
       P.O. Box 851001
       Number        Street
                                                                                 As of the date you file, the claim is: Check all that apply.

        Dallas                                   TX               75285          0 Contingent
       City                                      State             ZIP Code      O Unliquidated
       Who incurred the debt? Check one.                                         O Disputed
       0 Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
       0 Debtor 2 only
                                                                                 O Student loans
       El Debtor 1 and Debtor 2 only
                                                                                 CI Obligations arising out of a separation agreement or divorce
       0 At least one of the debtors and another                                     that you did not report as priority claims
       CI Check if this claim is for a community debt                            O Debts to pension or profit-sharing plans, and other similar debts
                                                                                 IZI Other. Specify Suppliers and Vendors
       Is the claim subject to offset?
       0   No
       CI yes
4.12       Bank of America Inc                                                   Last 4 digits of account number 4517
                                                                                                                                                       $24,063.58
       Nonpnonty Creditor's Name                                                 When was the debt incurred?           06/2017
       P.O. Box 851001
       Number    Street
                                                                                 As of the date you file, the claim is: Check all that apply.
       Dallas                                       TX            75285          0    Contingent
       City                                         State          ZIP Code
       Who incurred the debt? Check one.                                         El Unliquidated
       O Debtor 1 only                                                           0   Disputed
       O Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                              O Student loans
       O At least one of the debtors and another                                 CI Obligations arising out of a separation agreement or divorce
                                                                                     that you did not report as priority claims
       CI Check if this claim is for a community debt                            O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                           E l Other. Specify Credit Card Debt
       0     No
       0     Yes


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Debtor 1                                                                                                     Case number (if known)
                   First Name       Middle Name          Last Name

                  List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
           No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
   jBank of America Inc
                                                                                     Last 4 digits of account number           6867
       Nonpnonty Creditor's Name                                                                                                                                 $ 24,905.05
       P.O. Box 851001                                                               When was the debt incurred?
       Number           Street

                                                                                     As of the date you file, the claim is: Check all that apply.
       Dallas                                          TX            75285
       City                                            State          ZIP Code       0       Contingent
                                                                                     El Unliquidated
       Who incurred the debt? Check one.
                                                                                     0 Disputed
       0     Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
       0     Debtor 2 only
                                                                                     O       Student loans
       IZI Debtor 1 and Debtor 2 only
                                                                                     0       Obligations arising out of a separation agreement or divorce
       O At least one of the debtors and another                                             that you did not report as priority claims

       O Check if this claim is for a community debt
                                                                                     CI      Debts to pension or profit-sharing plans, and other similar debts
                                                                                     LZ      Other. Specify Credit Card Debt
       Is the claim subject to offset?
             No
       LII Yes
        Bloomingdale's AMEX                                                          Last 4 digits of account number           9108                              $ 653.44
                                                                                     When was the debt incurred?
       NonpnorIty Creditor's Name
       P.O. Box 9001108
       Number         Street
                                                                                     As of the date you file, the claim is: Check all that apply.

        Louisville                                     KY            40290           0       Contingent
       City                                            State          ZIP Code       O       Unliquidated
       Who incurred the debt? Check one.                                             O Disputed
       0 Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
       IZI Debtor 2 only
                                                                                     0       Student loans
       O Debtor 1 and Debtor 2 only
                                                                                     O       Obligations arising out of a separation agreement or divorce
       0     At least one of the debtors and another                                         that you did not report as priority claims
       0     Check if this claim is fora community debt                              O       Debts to pension or profit-sharing plans, and other similar debts
                                                                                     •       Other. Specify Credit Card Debt
       Is the claim subject to offset?
       El No
       I] yes
4.15       Brandsmart/Synchrony Bank                                                 Last 4 digits of account number           3842
                                                                                                                                                                 0,047.32
       Nonpnority Creditor's Name                                                    When was the debt incurred?
       P. 0. Box 960061
       Number     Street
                                                                                     As of the date you file, the claim is: Check all that apply.
        Orlando                                        FL            32896           0       Contingent
        City                                           State          ZIP Code
        Who incurred the debt? Check one.                                                    Unliquidated
                                                                                         0   Disputed
       CI Debtor 1 only
             Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
       0     Debtor 1 and Debtor 2 only                                              CI      Student loans
       CI At least one of the debtors and another                                    0  Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
       0     Check if this claim is for a community debt                             O Debts to pension or profit-sharing plans, and other similar debts
                                                                                                         Appliances for Fix and Flip business
       Is the claim subject to offset?                                               El Other. Specify
             No
             Yes


   Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 6 of 11
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Debtor 1                                                                                            Case number Of known)
                 First Name        Middle Name       Last Name


Part 2:        List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
   0 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
   El Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
   nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
   included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
   claims fill out the Continuation Page of Part 2.
                                                                                                                                                        Total claim
      Chase                                                                                                          5612
                                                                                Last 4 digits of account number
     Nonpriority Creditor's Name
                                                                                                                                                       $ 15,804.63
      P.O. Box 1423                                                             When was the debt incurred?          2008 - 201C
      Number           Street


                                                                                As of the date you file, the claim is: Check all that apply.
      Charlotte                                    NC            28201
      City                                         State         ZIP Code       O Contingent
                                                                                ▪ Unliquidated
      Who incurred the debt? Check one.                                         O Disputed
      El Debtor 1 only                                                          Type of NONPRIORITY unsecured claim:
      0 Debtor 2 only
                                                                                O Student loans
      0 Debtor 1 and Debtor 2 only                                               O Obligations arising out of a separation agreement or divorce
      0 At least one of the debtors and another                                    that you did not report as priority claims
                                                                                0 Debts to pension or profit-sharing plans, and other similar debts
      0      Check if this claim is for a community debt
                                                                                IZ Other. Specify Credit Card Debt
      Is the claim subject to offset?
      El No
      El Yes
      Citi Cards                                                                Last 4 digits of account number       2102                             $ 12,738.70
                                                                                When was the debt incurred?           2009 - 201C
      Nonpnonty Creditor's Name
       P. 0. Box 70166
      Number            Street
                                                                                 As of the date you file, the claim is: Check all that apply.

       Philadelphia                                PA            19176          0 Contingent
      City                                         State          ZIP Code      El Unliquidated
       Who incurred the debt? Check one.                                         O Disputed
      El Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
      El Debtor 2 only
                                                                                 CI Student loans
         Debtor 1 and Debtor 2 only
                                                                                 0 Obligations arising out of a separation agreement or divorce
      ID At least one of the debtors and another                                   that you did not report as priority claims
      0      Check if this claim is for a community debt
                                                                                CI Debts to pension or profit-sharing plans, and other similar debts
                                                                                El Other. Specify Credit Card Debt
      Is the claim subject to offset?
      El No


                                                                                 Last 4 digits of account number 4702                                   12,144.29
                                                                                                                                                        $

       Nonpnonty Creditor's Name                                                 When was the debt incurred?          2009
          P.O. Box 70166
       Number            Street
                                                                                 As of the date you file, the claim is: Check all that apply.
           Philadelphia                             PA           19176           0  Contingent
       Lity                                         State         ZIP Code
                                                                                 0  Unliquidated
       Who incurred the debt? Check one.
      IZ Debtor 1 only
                                                                                 CI Disputed
      0  Debtor 2 only                                                           Type of NONPRIORITY unsecured claim:
      0  Debtor 1 and Debtor 2 only                                              O Student loans
      0  At least one of the debtors and another                                 O Obligations arising out of a separation agreement or divorce
                                                                                    that you did not report as priority claims
       0      Check if this claim is for a community debt                        O Debts to pension or profit-sharing plans, and other similar debts
                                                                                                     Credit Card Debt
       lathe claim subject to offset?                                            El Other. Specify
          No
       El Yes


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Debtor 1                                                                                                  Case number (if known)
                   First Name       Middle Name          Last Name

               List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
   nonpriority unsecured claim, list the creditor separately for each claim. For each daim listed, identify what type of claim it is. Do not list claims already
   included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
   claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
      Home Depot Credit Services
                                                                                     Last 4 digits of account number        7883                             $ 5,194.53
     Nonpriority Creditor's Name
      Dept. 7883                                                                     When was the debt incurred?
     Number             Street
      P. 0. Box 9001030
                                                                                     As of the date you file, the claim is: Check all that apply.
      Louisville                                       KY            40290-1030
     City                                              State         ZIP Code        0 Contingent
                                                                                     El Unliquidated
     Who incurred the debt? Check one.
                                                                                     CI Disputed
     O       Debtor 1 only
                                                                                     Type of NONPRIORITY unsecured claim:
     El Debtor 2 only                                                                O   Student loans
     0       Debtor 1 and Debtor 2 only
                                                                                     CI Obligations arising out of a separation agreement or divorce
     CI At least one of the debtors and another                                          that you did not report as priority claims
                                                                                     O   Debts to pension or profit-sharing plans, and other similar debts
     O Check if this claim is for a community debt
                                                                                     O   Other. Specify   Credit Card Debt
      Is the claim subject to offset?
     El No
     O       Yes
      Macy's AMEX                                                                    Last 4 digits of account number        8718                             $   720.41
                                                                                     When was the debt incurred?
      Nonpriority Creditor's Name
      P.O. Box 9001108
      Number             Street
                                                                                     As of the date you file, the claim is: Check all that apply.

      Louisvillle                                      KY            40290           CI Contingent
      City                                             State          ZIP Cade       •   Unliquidated
      Who incurred the debt? Check one.                                              O   Disputed
     0 Debtor 1 only                                                                 Type of NONPRIORITY unsecured claim:
     IZl Debtor 2 only                                                               El Student loans
      0      Debtor 1 and Debtor 2 only
     0       At least one of the debtors and another
                                                                                     0   Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims

     0       Check if this claim is fora community debt                              O   Debts to pension or profit-sharing plans, and other similar debts
                                                                                     0   Other. Specify   Credit Card Debt
      Is the claim subject to offset?
     El No


          Neiman Marcus                                                              Last 4 digits of account number 2383
                                                                                                                                                             $   521.42
      Nonpriority Creditor's Name                                                    When was the debt incurred?
          P. 0. Box 5235
      Number              Street
                                                                                     As of the date you file, the claim is: Check all that apply.
          Carol Stream                                 IL            60197           O   Contingent
      City                                              State         ZIP Code
                                                                                         Unliquidated
      Who incurred the debt? Check one.
                                                                                     0   Disputed
      CI Debtor 1 only
      CI Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      0      Debtor 1 and Debtor 2 only                                              El Student loans
      CI At least one of the debtors and another                                     O   Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
      O Check if this claim is for a community debt                                  CI Debts to pension or profit-sharing plans, and other similar debts
      lathe claim subject to offset?                                                 0 Other. Specify Credit
                                                                                                       C       Card Debt

      El No
     El Yes

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Debtor 1                                                                                                       Case number (if known)
                    Fast Name         Middle Name          Last Name

Part 2:          List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
     El No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     1=1 Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
   nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
   included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
   claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
J       Nordstrom VISA
                                                                                       Last 4 digits of account number 1478
       Nonpriority Creditors Name                                                                                                                                  $ 5,433.86
        P. 0. Box 13589                                                                When was the debt incurred?
       Number            Street


                                                                                       As of the date you file, the claim is: Check all that apply.
        Scottsdale                                       AZ            85267
       City                                              State         ZIP Code        0       Contingent
                                                                                       ▪       Unliquidated
       Who incurred the debt? Check one.
                                                                                       O       Disputed
       El Debtor 'I only                                                               Type of NONPRIORITY unsecured claim:
       El Debtor 2 only
                                                                                       O       Student loans
       El Debtor 1 and Debtor 2 only                                                           Obligations arising out of a separation agreement or divorce
       0 At least one of the debtors and another                                               that you did not report as priority claims
                                                                                      El Debts to pension or profit-sharing plans, and other similar debts
       0       Check if this claim is for a community debt
                                                                                      E l Other. Specify Credit Card Debt
        Is the claim subject to offset?
          No
       0  Yes
,A      SOH Lending Corp.                                                              Last 4 digits of account number            5319                             $ 75,363.67
        Nonpriority Creditors Name
                                                                                       When was the debt incurred?                5/2018
        P. 0. Box 734297
        Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.

        Dallas                                           TX            75373           0       Contingent

        City                                             State          ZIP Code       0       Unliquidated
        Who incurred the debt? Check one.                                              0       Disputed
       Vi Debtor 1 only                                                                Type of NONPRIORITY unsecured claim:
        O Debtor 2 only
                                                                                       O       Student loans
       El Debtor 1 and Debtor 2 only
        0      At least one of the debtors and another
                                                                                       El Obligations arising out of a separation agreement or divorce
                                                                                               that you did not report as priority claims
                                                                                       111 Debts to pension or profit-sharing plans, and other similar debts
        0      Check if this claim is for a community debt
                                                                                       El Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
       El No
       E.1 yes
            UNIFY Financial Credit Union                                               Last 4 digits of account number             4361
                                                                                                                                                                   08,433.89
        Nonpriority Creditor s Name                                                    When was the debt incurred?                 6/25/2018
           P. 0. Box 10018
        Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
           Manhattan Beach                                CA           90267               ▪   Contingent
        City                                              State         ZIP Code
         Who incurred the debt? Check one.                                             El Unliquidated
                                                                                           El Disputed
        ▪ Debtor 1 only
        O Debtor 2 only                                                                    Type of NONPRIORITY unsecured claim:
        0 Debtor 1 and Debtor 2 only                                                   O       Student loans
           At least one of the debtors and another                                     0       Obligations arising out of a separation agreement or divorce
                                                                                               that you did not report as priority claims
        0      Check if this claim is for a community debt                             O       Debts to pension or profit-sharing plans, and other similar debts

        Is the claim subject to offset?                                                El      Other. Specify Monies Loaned / Advanced

        El No
        0 Yes

     Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 9 of11
             Case 20-60681-jwc               Doc 10               Filed 01/28/20 Entered 01/28/20 15:13:30 Desc Main
                John Joseph Oliga                                Document      Page 40 of 61     20-60681-JWC
Debtor 1                                                                                         Case number (if known)
               First Name     Middle Name           Last Name


              List Others to Be Notified About a Debt That You Already Listed

6. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
   example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
   2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
   additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line       of (Check one): 0      Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                                                           Last 4 digits of account number
     City                                   State               ZIP Code

                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line        of (Check one): 0     Part 1: Creditors with Priority Unsecured Claims
     Number          Street
                                                                                                         0   Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

                                                                           Last 4 digits of account number
     City                                   State               ZIP Code


                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line        of (Check one): 0     Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                              0   Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

                                                                           Last 4 digits of account number
     2j1Y,                                  State               ZIP Code

                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line        of (Check one): 0     Part 1: Creditors with Priority Unsecured Claims
     Number          Street                                                                              0   Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

                                                                           Last 4 digits of account number
     City                                   State               ZIP Code


                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line        of (Check one): 0     Part 1: Creditors with Priority Unsecured Claims
     Number          Street
                                                                                                         0   Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

                                                                           Last 4 digits of account number
     City                                   State               ZIP Code

                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line        of (Check one): 0     Part 1: Creditors with Priority Unsecured Claims
     Number          Street
                                                                                                         0   Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

                                                                           Last 4 digits of account number
     City                                   State               ZIP Code


                                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line        of (Check one): 0     Part 1: Creditors with Priority Unsecured Claims
     Number          Street
                                                                                                         0   Part 2: Creditors with Nonpriority Unsecured
                                                                           Claims

     City                                   State               ZIP Code
                                                                           Last 4 digits of account number


  Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              page 10 of11
           Case 20-60681-jwc                  Doc 10          Filed 01/28/20 Entered 01/28/20 15:13:30                     Desc Main
                John Joseph Oliga                            Document      Page 41 of 61     20-60681-JWC
Debtor 1                                                                                   Case number (if known)
               First Name    Middle Name         Last Name



Part 4:     Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                      Total claim


                6a. Domestic support obligations                               6a.                            0.00
Total claims
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                            0.00
                6c.Claims for death or personal injury while you were
                   intoxicated                                                 6c.                            0.00
                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d. + $                        0.00


                 6e. Total. Add lines 6a through 6d.                           6e.
                                                                                                              0.00


                                                                                      Total claim

                 6f. Student loans                                             6i.                             0.00
Total claims
from Part 2
                 6g. Obligations arising out of a separation agreement
                     or divorce that you did not report as priority
                     claims                                                    6j.     $
                                                                                                               0.00
                 6f. Debts to pension or profit-sharing plans, and other
                     similar debts                                             6h.                             0.00

                 6g.Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $            675,198.81


                 6h.Total. Add lines 6f through 6i.                            6j.
                                                                                                    675,198.81




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                page 11 of
             Case 20-60681-jwc                       Doc 10         Filed 01/28/20 Entered 01/28/20 15:13:30                             Desc Main
                                                                   Document      Page 42 of 61

 Fill in this information to identify your case:

                      John Joseph Oliga
 Debtor
                      First Name                  Middle Name             Last Name
                      Jeanine Barker Oliga
 Debtor 2
 (Spouse If filing)   First Name                  Middle Name             Last Name


 United States Bankruptcy Court for the Northern District of Georgia

 Case number            20-60681-JWC
  (If known)                                                                                                                             0   Check if this is an
                                                                                                                                             amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      0      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      0      Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule NB: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for


2' 11 Hilton Resorts Corp                                                                 Timeshare
_
       Name                                                                               Purchaser
          6355 metrowest Blvd.                                  Ste 180                   Timeshare
       Street
          Orlando                            FL           32835
       City                                  State      ZIP Code

2.2
       Name


       Street


                                             State      ZIP Code
2.31

       Name


       Street


                                             State      ZIP Code

2.41
          Name


          Street


          City                               State      ZIP Code

2.5
          Name


          Street


          City                               State      ZIP Code


Official Form 106G                                   Schedule G: Executory Contracts and Unexpired Leases                                       page 1 of 1
           Case 20-60681-jwc                            Doc 10               Filed 01/28/20 Entered 01/28/20 15:13:30                                Desc Main
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 Fill in this information to identify your case:

                      John Joseph Oliga
 Debtor 1
                     First Name                       Middle Name                 Last Name

 Debtor 2             Jeanine Barker Oliga
 (Spouse, if filing) First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:. Northern District of Georgia

 Case number              20-60681-JWC
  (If known)
                                                                                                                                                  El Check if this is an
                                                                                                                                                     amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
   1=1No
     2     Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     El No. Go to line 3.
     El Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          El No
          ElYes. In which community state or territory did you live?                                      . Fill in the name and current address of that person.



                   Name of your spouse, former spouse, or legal equivalent



                   Number         Street



                   City                                             State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
     Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt

                                                                                                                   Check all schedules that apply:

          J & J Oliga LLC                                                                                         D Schedule D, line
         Name
                                                                                                                  El Schedule E/F, line 4-7
          Street                                                                                                  El Schedule G, line
         City                                                          State                   ZIP Code

3.2
                                                                                                                   0   Schedule D, line
         Name
                                                                                                                   0   Schedule E/F, line
          Street                                                                                                  El Schedule G, line

                                                                       State                   ZIP Code

3.3
                                                                                                                   0   Schedule D, line
         Name
                                                                                                                  D Schedule E/F, line
          Street                                                                                                  El Schedule G, line

         co,                                                           State                   ZIP Code

--
Official Form 106H                                                             Schedule H: Your Codebtors                                                 page 1 of 1
           Case 20-60681-jwc                  Doc 10        Filed 01/28/20 Entered 01/28/20 15:13:30                                        Desc Main
                                                           Document      Page 44 of 61

 Fill in this information to identify your case:

                        John Joseph Oliga
 Debtor 1
                       Fiist Name           Middle Name               Lest Name

 Debtor 2
                        Jeanine Barker Oliga
 (Spouse, if filing)   First Name           Middle Name               Last Name


 United States Bankruptcy Court for the: _ Northern District of Georgia

 Case number               20-60681-JWC                                                                   Check if this is:
 (If known)
                                                                                                          ClAn amended filing
                                                                                                          DA supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 1061                                                                                             MM / DD/ YYYY

Schedule I: Your Income                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:               Describe Employment


I. Fill in your employment
   information.                                                             Debtor 1                                      Debtor 2 or non-filing spouse

      If you have more than one job,
      attach a separate page with
      information about additional        Employment status               ElEmployed                                     171Employed
      employers.                                                          U Not employed                                  U Not employed
      Include part-time, seasonal, or
      self-employed work.                                                  Physician-ESA                                 Physician
                                          Occupation
      Occupation may include student
      or homemaker, if it applies.                                         Emory Specialty Assoc                          QTC Medical Group
                                          Employer's name


                                          Employer's address               550 Peachtree St, NE                          924 Overland Court
                                                                          Number   Street                               Number     Street
                                                                           WW Orr Building


                                                                           Atlanta, GA 30308                             San Dimas, CA 91773
                                                                          City              State   ZIP Code            City                  State   ZIP Code

                                          How long employed there?         24 years                                       5 years


al                     Give Details About Monthly Income

      Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
      spouse unless you are separated.
      If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
      below. If you need more space, attach a separate sheet to this form.

                                                                                                    For Debtor 1         For Debtor 2 or
                                                                                                                         non-filing spouse
 2.    List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.          2.      $   17,771.47             $   2,233.46

 3.    Estimate and list monthly overtime pay.                                              3. + $             0.00     + $            0.00

 4. Calculate gross income. Add line 2 + line 3.                                            4.      $ 17,771.47               $   2,233.46



Official Form 1061                                                 Schedule I: Your Income                                                            page 1
           Case 20-60681-jwc               Doc 10            Filed 01/28/20 Entered 01/28/20 15:13:30                                Desc Main
                                                            Document      Page 45 of 61
Debtor 1       John Joseph Oliga                                                             Case number (if known)    20-60681-JWC
               First Name   Middle Name         Last Name

                                                                                            For Debtor 1              For Debtor 2 or
                                                                                                                      non-filing spouse
    Copy line 4 here                                                             4    4.    $   17,771.47               $    2,233.46
 5. List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                               5a.    $   1,414.49                $         0.00
     5b.Mandatory contributions for retirement plans                                 6b.    $       0.00                $         0.00
     5c. Voluntary contributions for retirement plans                                5c.    $   3,623.27                $         0.00
     5d.Required repayments of retirement fund loans                                 5d.    $       0.00                $         0.00
     5e. Insurance                                                                   5e.    $     489.52                $         0.00
     5f. Domestic support obligations                                                5f.    $       0.00                $         0.00
     5g.Union dues                                                                   5g.    $       0.00                $         0.00
     5h.Other deductions. Specify: HSA                                               5h. + $     1,334.67             + $
      Estmated taxes                                                                        $        0.00               $
                                                                                            $                           $
                                                                                            $                           $

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.     6.     $    6,861.94                        0.00
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.              7.     $   10,909.53               $    2,233.46

 a. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
         Attach a statement for each property and business showing gross
         receipts, ordinary and necessary business expenses, and the total                            0.00                        0.00
         monthly net income.                                                         8a.
     8b.Interest and dividends                                                       8b.    $         0.00                        0.00
     8c.Family support payments that you, a non-filing spouse, or a dependent
        regularly receive
        Include alimony, spousal support, child support, maintenance, divorce                         0.00                        0.00
        settlement, and property settlement.                                  8c.
     8d.Unemployment compensation                                                    8d.    $         0.00                        0.00
     8e.Social Security                                                              8e.    $         0.00                        0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify:                                                                   8f.     $         0.00                        0.00

     8g.Pension or retirement income                                                 8g.    $         0.00                        0.00
     8h.Other monthly income. Specify:                                                8h. + $         0.00                        0.00

  6. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.            9.              0.00                        0.00

 10. Calculate monthly income. Add line 7 + line 9.                                                                                               13,142.99
                                                                                            $   10,909.53                $    2,233.46        $
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.        10.

 11.State all other regular contributions to the expenses that you list in Schedule J
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                          11. +   $            0.00
 12.Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                  13,142•99
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                12.
                                                                                                                                              Combined
                                                                                                                                              monthly income
 13. 13t you expect an increase or decrease within the year after you file this form?
     Ed No.            Jeanine Oliga's contract employment varies monthly. Within the last 3 years, annual income has
      U Yes. Explain: decreased annually from a high of $69,835 (2017) to $52,252.00 (2019)after having initially started at
                       $86k.
  Official Form 1061                                            Schedule I: Your Income                                                           page 2
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              John Joseph Oliga & Jeanine Barker Oliga                                                       20-60681-JWC
Debtor 1                                                                            Case number (if known)
              First Name   Middle Name     Last Name



                                              Continuation Sheet for Official Form 1061


1. Describe Employment:

Debtor: John Joseph Oliga

Occupation: Physician

Name of Employer: Dynamic Health Care Systems INC

Employer's Address: 2799 Lawrenceville HWY Suite 106, Decatur, GA 30033

Length of Employment: 9 years




  Official Form 1061                                      Schedule 1: Your Income
           Case 20-60681-jwc                    Doc 10         Filed 01/28/20 Entered 01/28/20 15:13:30                                         Desc Main
                                                              Document      Page 47 of 61


  Fill in this information to identify your case:

                     John Joseph Oliga
  Debtor 1
                     First Name               Middle Name                Last Name                          Check if this is:
                     Jeanine Barker Oliga
  Debtor 2
  (Spouse, if filing) Fast Name               Middle Name                Last Name
                                                                                                           LIAn amended filing
                                                                                                           EA supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: Northern District of Georgia
                                                                                     (State)
                                                                                                             expenses as of the following date:
                      20-60681-JWC
  Case number                                                                                                   MM / DD/ YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

                   Describe Your Household

1. Is this a joint case?

   U No. Go to line 2.
   glYes. Does Debtor 2 live in a separate household?

               ONo
               U Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  U No                                         Dependent's relationship to              Dependent's     Does dependent live
   Do not list Debtor 1 and                 IZIYes. Fill out this information for        Debtor 1 or Debtor 2                     age             with you?
   Debtor 2.                                   each dependent
                                                                                               Daughter                           20                   No
   Do not state the dependents'                                                                                                                 I 1- 71
   names.                                                                                                                                         bLI.Yes
                                                                                           Daughter                               18              CI No
                                                                                                                                                  EIYes
                                                                                           Son                                    17              CI   No
                                                                                                                                                  Ekes
                                                                                                                                                  CINo
                                                                                                                                                  Ekes
                                                                                                                                                  ONO
                                                                                                                                                  Ekes
3. Do your expenses include
   expenses of people other than
                                 U              No
__yourself andiour. dependents?__OYes_____________

Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include                   first mortgage payments and                               3,031.00
     any rent for the ground or lot.                                                                                        4.

     If not included in line 4:
                                                                                                                                                         0.00
     4a. Real estate taxes                                                                                                  4a.     $
                                                                                                                                                         0.00
     4b. Property, homeowner's, or renter's insurance                                                                       4b.

     4c. Home maintenance, repair, and upkeep expenses                                                                      4c.     $                  100.00

     4d. Homeowner's association or condominium dues                                                                        4d.     $                   60.00

  Official Form 106J                                             Schedule J: Your Expenses                                                                  page 1
              Case 20-60681-jwc                 Doc 10           Filed 01/28/20 Entered 01/28/20 15:13:30                          Desc Main
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                     John Joseph Oliga
 Debtor 1                                                                                    Case number (if known) 20-60681-JWC
                   First Name     Middle Name       Last Name




                                                                                                                         Your expenses


  5. Additional mortgage payments for your residence, such as home equity loans                                  5.
                                                                                                                                           0.00

  6. Utilities:
        6a. Electricity, heat, natural gas                                                                       6a.    $                390.96
        6b. Water, sewer, garbage collection                                                                     6b.    $                160.00
        Sc.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $                347.00
        6d.   Other. Specify:   Alarm system
                                      s                                                                          6d.    $                 45.00
  7. Food and housekeeping supplies                                                                              7.     $                400.00
  8. Childcare and children's education costs                                                                    8.                  2.960.00
  9.    Clothing, laundry, and dry cleaning                                                                      9.                      330 nn
10. Personal care products and services                                                                          10.    $                13000
11. Medical and dental expenses                                                                                  11.

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                         410.00
    Do not include car payments.                                                                                 12.

113.    Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $                250.00
14. Charitable contributions and religious donations                                                             14.    $            1,396.00
 15. Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a.Life insurance                                                                                       15a.                    199.31
        15b.Health insurance                                                                                     15b.                      0.00
        15c.Vehicle insurance                                                                                    15c.                1.000.00
        15d.Other insurance. Specify:                                                                            15d.                      0.00

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify:     Estimated income taxes                                                                      16.
                                                                                                                                     2.964.73

17. Installment or lease payments:
        17a.Car payments for Vehicle 1                                                                           17a     $                 0.00
        17b.Car payments for Vehicle 2                                                                           17b.    $                 0.00
        17c. Other. Specify:      Additional Car Payments                                                        17c.    $               657.69
        17d.Other. Specify:                                                                                      17d.    $                 0.00

 19. Your payments of alimony, maintenance, and support that you did not report as deducted from
     your pay on line 5, Schedule I, Your Income (Official Form 1061).                                            18.   $                  0.00

 19. Other payments you make to support others who do not live with you.
        Specify:    Care for elderly mother                                                                       19.   $
                                                                                                                                     1,000.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

         20a. Mortgages on other property                                                                        20a.   $                  0.00
         20b. Real estate taxes                                                                                  20b.   $                  0.00
         20c. Property, homeowner's, or renter's insurance                                                       20c.    $                 0.00
         20d.Maintenance, repair, and upkeep expenses                                                            20d.    $                 0.00
         20e. Homeowner's association or condominium dues                                                        20e.    $                 0.00


       Official Form 106J                                        Schedule J: Your Expenses                                                  page 2
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                   John Joseph Oliga                                                                                    20-60681-JWC
Debtor 1                                                                                      Case number (if known)
                 First Name    Middle Name       Last Name




21. Other. Specify:                                                                                                                          0.00
                                                                                                                       21.   +$
                                                                                                                             +$
                                                                                                                             +s

22.     Calculate your monthly expenses.

       22a.Add lines 4 through 21.                                                                                 22a.                 15,831.69
       22b.Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a       22b.

       and 22b. The result is your monthly expenses.                                                               22c.                 15,831.69


23. Calculate your monthly net income.
                                                                                                                                         13,142.99
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                          23a.

      23b.   Copy your monthly expenses from line 22c above.                                                       23b.       $          15,831.69

      23c. Subtract your monthly expenses from your monthly income.                                                                      -2,688.70
           The result is your monthly net income.                                                                  23c.


24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      Li No.
  El Yes.          Explain here:   3rd child will start college in the fall. He will incur senior expenses until the end of the year.:
                                   dues, college applications, graduation expenses, prom, etc.




      Official Form 106J                                      Schedule J: Your Expenses                                                       page 3
              Case 20-60681-jwc                    Doc 10         Filed 01/28/20 Entered 01/28/20 15:13:30                             Desc Main
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Fill in this information to identify your case:

                  John Joseph Oliga
Debtor 1
                   First Name                Middle Name               Last Name
                  Jeanine Barker Oliga
Debtor 2
(Spouse, if filing) First Name               Middle Name               Last Name


United States Bankruptcy Court for the Northern District of Georgia
Case number           20-60681-JWC                                                                                                             Check if this is an
 (If known)                                                                                                                                    amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                          12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  • creditors have claims secured by your property, or
  • you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                    secures a debt?                                   as exempt on Schedule C?

          Creditor's                                                               0 Surrender the property.                             No
          name:           Bank of America
                                                                                   0 Retain the property and redeem it.               L• Yes
         Description of          265 Stoneleigh Dr SW
         property                                                                  El Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:



          Creditor's        Hilton Resorts Corp                                    El Surrender the property.                         Ei No
          name:
                                                                                   O Retain the property and redeem it.               El Yes
         Description of Hilton Grand Vacations              Club at Trump
         property       International Hotel                                        0 Retain the property and enter into a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                   O Retain the property and [explain]:



          Creditor's      Bank of America                                          0 Surrender the property.                             No
          name:
                                 2014 Toyota Highlander XLE                        0 Retain the property and redeem it.               0 Yes
          Description of
          property                                                                 El Retain the property and enter into a
          securing debt:                                                              Reaffirmation Agreement.
                                                                                   O Retain the property and [explain]:


          Creditor's                                                               0 Surrender the property.                             No
          name:
                                                                                   0 Retain the property and redeem it.               0 Yes
          Description of
          property                                                                 0 Retain the property and enter into a
          securing debt:                                                             Reaffirmation Agreement.
                                                                                   O Retain the property and [explain]:



  Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
           Case 20-60681-jwc                   Doc 10         Filed 01/28/20 Entered 01/28/20 15:13:30                                Desc Main
                                                             Document      Page 51 of 61
                  John Joseph Oliga & Jeanine Barker Oliga                                                               20-60681-JWC
Debtor                                                                                        Case number   (If known)




 Part 2:         List Your Unexpired Personal Property Leases

, For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                                  Will the lease be assumed?

     Lessor's name:
                                                                                                                              No
                                                                                                                              Yes
     Description of leased
     property:


     Lessor's name:                                                                                                       0   No

     Description of leased
                                                                                                                          0   Yes
     property:


     Lessor's name:                                                                                                       El No
     Description of leased                                                                                                LII Yes
     property:


     Lessor's name:                                                                                                       0 No
                                                                                                                          10 Yes
     Description of leased
     property:


     Lessor's name:
                                                                                                                          0 No
                                                                                                                          10 Yes
     Description of leased
     property:


     Lessor's name:                                                                                                       Li No
                                                                                                                          0   Yes
     Description of leased
     property:


     Lessor's name:                                                                                                       0   No
                                                                                                                              Yes
     Description of leased
     property:




 Part 3:         Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    persoaLpropety that 's subject to an unexpired lease.


 X /s/ John Joseph Oliga                                       X /s/ Je me Barker Oliga
     Signature of Debtor 1                                         Signature of Debtor 2

     Date
             01/25/2020                                            Date
                                                                          01/25/2020
            MM   DD / YYYY                                                    DD / YYYY



 Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                              page 2
           Case 20-60681-jwc                     Doc 10        Filed 01/28/20 Entered 01/28/20 15:13:30                            Desc Main
                                                              Document      Page 52 of 61


 Fill in this information to identify your case:

 Debtor
                       John Joseph Oliga
                       First Name             Middle Name                 Last Name

 Debtor 2              Jeanine Barker Oliga
 (Spouse, if filing)   First Name             Middle Name                 Last Name


 United States Bankruptcy Court for the:   Northern District of Georgia

 Case number              20-60681-JWC                                                                                            El Check if this is an
                       (If known)                                                                                                      amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:         Summarize Your Assets


                                                                                                                                Your assets
                                                                                                                                Value of what you own
1. Schedule NB: Property (Official Form 106A/B)
   Ia. Copy line 55, Total real estate, from Schedule A/B
                                                                                                                                    $251,600.00


    lb. Copy line 62, Total personal property, from Schedule NB                                                                     $ 844,843.94


    ic. Copy line 63, Total of all property on Schedule A/B
                                                                                                                                    $1,096,443.94


Part 2:         Summarize Your Liabilities


                                                                                                                                 Your liabilities
                                                                                                                                 Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D
                                                                                                                                    $358,588.40

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                    $ 0.00
   3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

    3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F
                                                                                                                                 + $675,198.81

                                                                                                       Your total liabilities       $1,033,787.21


                Summarize Your Income and Expenses
mirm

4. Schedule!: Your Income (Official Form 1061)
   Copy your combined monthly income from line 12 of Schedule!
                                                                                                                                    $13,142.99

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J                                                                           $15,831 .69




Official Form 106Sum                           Summary of Your Assets and Liabilities and Certain Statistical Information                page 1 of 2
           Case 20-60681-jwc                Doc 10           Filed 01/28/20 Entered 01/28/20 15:13:30                             Desc Main
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               John Joseph Oliga                                                                                       20-60681-JWC
Debtor 1                                                                                      Case number (if known)
              First Name    Middle Name         Last Name




             Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

    U No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       Yes


7. What kind of debt do you have?

    U Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
      family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

    1:1 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                       Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                         0.00
    9a.Domestic support obligations (Copy line 6a.)

                                                                                                                         0.00
    9b.Taxes and certain other debts you owe the govemment. (Copy line 6b.)

                                                                                                                         0.00
    9c.Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                         0.00
    9d.Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                          0.00
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +$                   0.00


    9g.Total. Add lines 9a through 9f.                                                                                    0.00




    Official Form 106Sum                  Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
              Case 20-60681-jwc                   Doc 10      Filed 01/28/20 Entered 01/28/20 15:13:30                                             Desc Main
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Fill in this information to identify your case:


Debtor 1           John Joseph Oliga
                   First Name               Middle Name               Last Name

Debtor 2           Jeanine Barker Oliga
(Spouse, if filing) First Name              Middle Name               Last Name


United States Bankruptcy Court for the Northern District of Georgia

Case number         20-60681-JWC
(If known)
                                                                                                                                                    Cl Check if this is an
                                                                                                                                                        amended filing


  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                             12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       El No
        L3   Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                  Signature (Official Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct.
                                                  e^



     X       /s/ John Joseph Oliga                                    X    /s/ Je nine Barker Oliga
          Signature of Debtor 1                                           Signature of Debtor 2


          Date 01/25/2020                                                 Date    01/25/2020
                 MM! DD          /   YYYY                                         MM! DD /   YYYY




   Official Form 106Dec                                    Declaration About an Individual Debtor's Schedules
       Case 20-60681-jwc             Doc 10       Filed 01/28/20 Entered 01/28/20 15:13:30                  Desc Main
                                                 Document      Page 55 of 61
  B2030 (Form 2030) (12/15)


                               United States Bankruptcy Court
                                                     Northern District of Georgia


  In re   John Joseph Oliga & Jeanine Barker Oliga

                                                                                    Case No. 20-60681-JWC

  Debtor                                                                            Chapter 7

                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

  1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bantu. P. 2016(b), I certify that I am the attorney for the
     above named debtor(s) and that compensation paid to me within one year before the filing of the
     petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
     the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

  FLAT FEE
                                                                                          $ 2,500.00
        For legal services, I have agreed to accept
                                                                                          $ 2,500.00
        Prior to the filing of this statement I have received
                                                                                          $ 0.00
        Balance Due

EIRETAINER
       For legal services, I have agreed to accept a retainer of

       The undersigned shall bill against the retainer at an hourly rate of
       [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
       approved fees and expenses exceeding the amount of the retainer.

  2. The source of the compensation paid to me was:
             Debtor                            Other (specify)

  3. The source of compensation to be paid to me is:
        111 Debtor                             Other (specify)

  4.         I have not agreed to share the above-disclosed compensation with any other person unless they
       are members and associates of my law firm.

        ri  I have agreed to share the above-disclosed compensation with a other person or persons who
  are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
  of the people sharing the compensation is attached.
  5. In return of the above-disclosed fee, I have weed to render legal service for all aspects of the
     bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining
          whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
          required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
          adjourned hearings thereof;
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 B2030 (Form 2030) (12/15)
     d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Case 20-60681-jwc      Doc 10     Filed 01/28/20 Entered 01/28/20 15:13:30                   Desc Main
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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation f the debtor(s) in tliis b      tcy proceeding.

       01/25/2020                         s/ Fannie Gilliam, 294

      Date                                    Signature of Attorney
                                         The Gilliam Law Center

                                              Name of law firm
                                         3645 Marketplace BOUlevard
                                         130-590
                                         East Point, GA 30344
                                         404 246 1858
                                         gilliamlawcentergatt.net
            Case 20-60681-jwc                  Doc 10        Filed 01/28/20 Entered 01/28/20 15:13:30                                  Desc Main
                                                            Document      Page 58 of 61
  Fill in this information to identify your case:                                                      Check one box only as directed in this form and in
                                                                                                       Form 122A-1Supp:
 Debtor 1         John Joseph Oliga
                    First Name               Middle Name                Last Name
                                                                                                    I21 1. There is no presumption of abuse.
 Debtor 2           Jeanine Barker Oliga
 (Spouse, if filing) First Name              Middle Name                Last Name                   U 2. The calculation to determine if a presumption of
                                                                                                         abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                         Means Test Calculation (Official Form 122A-2).
 Case number         20-60681-JWC                                                                   U 3. The Means Test does not apply now because of
 (If known)
                                                                                                         qualified military service but it could apply later.


                                                                                                    U Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                         12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

                   Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        U Not married. Fill out Column A, lines 2-11.
        •     Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

        U Married and your spouse is NOT filing with you. You and your spouse are:

                    Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                    Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A          Column B
                                                                                                        Debtor 1           Debtor 2 or
                                                                                                                           non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
        (before all payroll deductions).
   3. Alimony and maintenance payments. Do not include payments from a spouse if
        Column B is filled in.
   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
        from an unmarried partner, members of your household, your dependents, parents,
        and roommates. Include regular contributions from a spouse only if Column B is not
        filled in. Do not include payments you listed on line 3.
   5. Net income from operating a business, profession,
                                                                        Debtor 1    Debtor 2
        or farm
        Gross receipts (before all deductions)
        Ordinary and necessary operating expenses                   —$              —$
       Net monthly income from a business, profession, or farm                                 Copy
                                                                          $                    here+     $
   6. Net income from rental and other real property                    Debtor 1    Debtor 2
      Gross receipts (before all deductions)
      Ordinary and necessary operating expenses                     —$              —$
       Net monthly income from rental or other real property                                   Copy
                                                                                               here+
  7. Interest, dividends, and royalties



Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                 page 1
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Debtor 1         John Joseph Oliga                                                              Case number (if known)   20-60681-JWC
                 First Name     Middle Name        Last Name



                                                                                                     Column A                Column B
                                                                                                     Debtor 1                Debtor 2 or
                                                                                                                             non-filing spouse
 I
     8. Unemployment compensation
        Do not enter the amount if you contend that the amount received was a benefit
        under the Social Security Act. Instead, list it here:
            For you
            For your spouse
     9. Pension or retirement income. Do not include any amount received that was a
        benefit under the Social Security Act. Also, except as stated in the next sentence, do
        not include any compensation, pension, pay, annuity, or allowance paid by the
        United States Government in connection with a disability, combat-related injury or
        disability, or death of a member of the uniformed services. If you received any retired
        pay paid under chapter 61 of title 10, then include that pay only to the extent that it
        does not exceed the amount of retired pay to which you would otherwise be entitled if
        retired under any provision of title 10 other than chapter 61 of that title.
     10.Income from all other sources not listed above. Specify the source and amount.
        Do not include any benefits received under the Social Security Act; payments received
        as a victim of a war crime, a crime against humanity, or international or domestic
        terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
        States Government in connection with a disability, combat-related injury or disability, or
        death of a member of the uniformed services. If necessary, list other sources on a
        separate page and put the total below.




           Total amounts from separate pages, if any.                                                +
     11. Calculate your total current monthly income. Add lines 2 through 10 for each
         column. Then add the total for Column A to the total for Column B.
                                                                                                                                                       Total current
                                                                                                                                                       monthly income

                  Determine Whether the Means Test Applies to You

     12. Calculate your current monthly income for the year. Follow these steps:
        12a. Copy your total current monthly income from line 11.                                                        Copy line 11 here.    I   $
                 Multiply by 12 (the number of months in a year).                                                                                  x 12
         12b. The result is your annual income for this part of the form.                                                               12b.

     13. Calculate the median family income that applies to you. Follow these steps:

         Fill in the state in which you live.

        Fill in the number of people in your household.

        Fill in the median family income for your state and size of household.                                                          13.
        To find a list of applicable median income amounts, go online using the link specified in the separate
        instructions for this form. This list may also be available at the bankruptcy clerk's office.


     14. How do the lines compare?


        14a.U      Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3. Do NOT fill out or file Official Form 122A-2.



         14b.U     Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form /22,4-2.
                   Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                                      page 2
           Case 20-60681-jwc                  Doc 10          Filed 01/28/20 Entered 01/28/20 15:13:30                                     Desc Main
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Debtor 1     John Joseph Oliga                                                                    Case number (if known)   20-60681-JWC
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statemeran in a             attachments is true and correct.

                                                                        11osi.-miss
              X /s/ John Josepp'61                                                             X /s/ Jea       e Barker Olig
                   Signature of Debtor 1                                                         Signature of Debtor 2

                  Date    01/25/2020                                                             Date   01/25/2020
                          MM! DD     / YYYY                                                             MM! DID / YYYY

                   If you checked line 14a, do NOT fill out or file Form 122A-2.
                   If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                      page 3
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                                                                Document      Page 61 of 61
   Fill in this information to identify your case:

  Debtor 1            John Joseph Oliga
                      First Name                  Middle Name            Last Name

  Debtor 2            Jeanine Barker Oliga
  (Spouse, if filing) First Name                  Middle Name            Last Name

  United States Bankruptcy Court for the: Northern District of Georgia

  Case number         20-60681-JWC
   (If known)

                                                                                                        0 Check if this is an amended filing


 Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                         12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this
is required by 11 U.S.C. §707(b)(2)(C).


                Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
   personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave on line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

  El No.         Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
                 this supplement with the signed Form 122A-1.
   D Yes. Go to Part 2.
                Determine Whether Military Service Provisions Apply to You

2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
  El No.         Go to line 3.
   U Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                 10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                ElNo. Go to line 3.
                    Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3•
                     Then submit this supplement with the signed Form 122A-1.
3. Are you or have you been a Reservist or member of the National Guard?
  EI      No. Complete Form 122A-1. Do not submit this supplement.
   U      Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
                No. Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                DI was called to active duty after September 11, 2001, for at least            If you checked one of the categories to the left, go to
                   90 days and remain on active duty.                                          Form 22A-1. On the top of page 1 of Form 22A-1, check
                                                                                               box 3, The Means Test does not apply now, and sign
                Ell was called to active duty after September 11, 2001, for at least           Part a Then submit this supplement with the signed
                   90 days and was released from active duty on
                                                                                               Form 22A-1. You are not required to fill out the rest of
                   which is fewer than 540 days before I file this bankruptcy case.
                                                                                               Official Form 22A-1 during the exclusion period. The
                DI am performing a homeland defense activity for at least 90 days.             exclusion period means the time you are on active duty
                                                                                               or are performing a homeland defense activity, and for
                Ell performed a homeland defense activity for at least 90 days,                540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                   ending on                        , which is fewer than 540 days before
                                                                                               If your exclusion period ends before your case is closed,
                   I file this bankruptcy case.
                                                                                               you may have to file an amended form later.




Official Form 122A-1Supp                            Statement of Exemption from Presumption of Abuse Under §707(b)(2)                             page 1
